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                                                                                                                                    MAY 29 2019
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                                                                                                                          W3 TA1$       KRUPTCY cO(T
                                                                                                                          EATEPN DIT1lCT OF CAUi'ON1A
                                                                      M   L,IIdptCI   I

                                                                      U Chapter 11
                                                                      U Chapter 12
                                                                                                                                    *0.
                                                                                                                                     Li
                                                                                                                                        3
                                                                                                                                       Check if this is an
                                                                      U Chapter 13
                                                                                                                                       amended filing



     Official Form 101
     V!                  ry                         for                         vs                     for Tankruptcy                                        12115

     The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
     joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, Do you own a car,"
     the answer would be yes it either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and
     Debtor 2 to'distingursh between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The
     same person must be Debtor I in all of the forms.
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
     (if known). Answer every question.


                Identify Yourself

                                         About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
        Your full name

        Write the name that is on your
        governrnent-Lssued picture       Beveilv
        identification (for esample,     First name                                                    First name
        your driver's license or
        passport).                       Middle name                                                   Middle name
        Bring your picture               Perryman
        identification to your meeting   Last name                                                     Last name
        with the trjstee.
                                         Suffix (Sr., Jr   II, III)                                    Suttix (Sr.. Jr., II, III)




        All other names you
        have used in the last 8          First name                                                    First name
        years

         Include your married or         Middle name                                                   Middle name
         maiden names.
                                         Last name                                                -.   Last name


                                         First name                                                    First name

                                         Middla name                                                   Middle name

                                         Last name                                                     Last name




        Only the last 4 digits of
                                         xxx - xx - 3                       0             6   5        xxx - xx -
        your Social Security
        number or federal                OR                                                            OR
        Individual Taxpayer
        Identification number            9xx - xx -                                                    9xx - xx -


     Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 1
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     Debtor 1      Beverly                                  Perrntan
                                                                                                            Case number
                   Fi,st Nrnr,   Mddie Nn,e                L,st wr,,e




                                              About Debtor I                                                     About Debtor 2 (Spouse Only in a Joint Case):,


     4.   Any business names
          and Employer                               I have not used any business names or EINs                  U      I have not used any business names or EINs.
          Identification Numbers
          (EIN) you have used in
          the last 8 years                    Business name                                                      Business name
          Include trade names and
          doing business as names
                                              Business name                                                      Business name



                                              EIN                                                                EIN


                                              EIN                                                                BIN




     s. Where you live                                                                                           If Debtor 2 lives at a different address:



                                              283 E. Magill Ave
                                              Number     Street                                                  Number          Street




                                              Fresno                                   CA        93710
                                              City                                     State     ZIP Code        City                                     State     ZIP Code

                                              Fresno
                                              County                                                             County

                                              If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                              above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                              any notices to you at this mailing address.                        any notices to this mailing address.



                                              Number           Street                                            Number          Street


                                              P.O. Box                                                           P.O. Box


                                              City                                     State     ZIP Code        City                                     State     ZIP Code




     6.   Why you are choosing                Check one:                                                         Check one:
          this districtto file for
          bankruntcv
                  F'
                                                     Over the last 180 days before filing this petition,         U      Over the last 180 days before filing this petition,
                                                     I have lived in this district longer than in any                   I have lived in this district longer than in any
                                                     other district,                                                    other district.

                                              LI     I have another reason. Explain                              LI     I have another reason. Explain.
                                                     (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




     Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 2
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      Debtor   1     Beverly                                Perryman
                     First Nan,   Mkidie Nasa              Last Na'ae                                     Case number   it




                   Tell the Court About Your Bankruptcy Case



           The chapter of the                   Check one. (For a brief description of each, see Not/ce Required by 11 U. S. C. § 342(b) for Individuals Filing
           Bankruptcy Code you                  for Bankruptcy ( Form   2010)) Also, go to the top of page 1 and check the appropriate box
           are choosing to ffle
           under                                     Chapter 7

                                                U    Chapter 11

                                                U    Chapter 12

                                                U    Chapter 13


           How you will pay the fee             U   I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                    local court for more details about how you may pay. Typically, if you are paying the fee
                                                    yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                    submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                    with a pie-printed address.

                                                Li I need to pay the fee in installments.        If you choose this option, sign and attach the
                                                    Application for Individuals to Pay The Filing Fee in Installments (Official Form 1 03A)

                                                    I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                    By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                    less than 150% of the official poverty line that applies to your family size and you are unable to
                                                    pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                    Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



           Have you filed for                       No
           bankruptcy within the
           last 8 years?                        U   Yes. District                               When   __________________ L.c1t,t
                                                                                                                                .,- -.
                                                                                                                                    tlUItILtUi

                                                                                                       MM! ooIYvYY
                                                          District                              When    _________            Case number
                                                                                                       MM! OD!YYYY
                                                          District                              When _________________ Case number
                                                                                                       MM! DD/YYYY


           Are any bankruptcy                       No
           cases pending or being
           filed by a spouse who is             U   Yes. Debtor                                             -.               Relationship to you
           not filing this case with
                                                          District                             When                          Case number, it kn
           you, or by a business
                                                                                                       MM/DD JYYYY
           partner, or by an
           aft iliate?

                                                          Debtor                                                             Relationship to you -
                                                          District                             When ________________ Case number,                if   known
                                                                                                      MM / DD/ YYYY


     ii.   Do you rent y our                La      No. Go to line 12
           residence?
                                            U       Yes. I-las your landlord obtained an eviction judgment against you and do you want to stay in your
                                                           residence?

                                                          U    No. Go to line 12.
                                                          U   Yes. Fill out Initial Statement About an Evict ion JudgmentAgainst You (Form 101A) and file it with
                                                              this bunkruptcy petition.



     Official Form 101                                    Voluntary Petition for lndividuais Filing for Bankruptcy                                            page 3
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     Debtor 1         Beverly                                  Perrvman                                      Case number
                      FirS Nnre      MddFrr Na—               LrSi Nsrre




                    Report About Any Businesses You Own as a Sole Proprietor



     12. Are you a sole proprietor                     No. Go to Part 4.
            of any full- or part-time
            business?                             LI   Yes. Name and location of business
            A sole proprietorship is a
            business you operate as an
                                                             Name of business, if any
            individual, and is not a
            separate legal entity such as
            a corporation, partnership, or
                                                             Number        Street
            LLC.
            If you have more than one
            sole proprietorship, use a
            separate sheet and attach it
            to this petition.
                                                              City                                                    State        ZIP Code



                                                             Check the appropriate box to describe your business:

                                                             Li   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                             Li   Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))

                                                             U    Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                             Li   Commodity Broker (as defined in 11 tJ.S.C. § 101(6))

                                                             LI    None of the above



      13.   Are you filing under                  If you are filing under Chapter 11, the court must kitow whether you are a sntall business debtor so that it
            Chapter 11 of the                     can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
                                                  most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
            Bankruptcy Code and
                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1 116(1)(B)
            are you a small business
            debtoi?
                                                       No. I am not filing under Chapter 11
            For a definition of small
            business debtor, see                  Li   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
             11 U.S.C. § 101(51D).                           the BankrLiptcy Code

                                                  Li   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                             Bankruptcy Code.


                     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention



      14.   Do you own or have any                      No
            property that poses or is
            alleged to pose a threat              Li   Yes. What is the hazard?
            of imminent and
            identifiable hazard to
            public health or safety?
            Or do you own any
            property that needs
                                                                If immediate attention is needed, why is it needed?
            immediate attention?
            For example, do you own
            perishable goods, or livestock
            that must be fed, or a building
            that needs urgent repairs?
                                                                Where is the property?
                                                                                         Number         Street




                                                                                         City                                           State    ZIP Code


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     Debtor 1      Beverly                                Perryman                                          Case number
                   0,5 Nm,,,,     Mdd5 Name              LeN Nerr,e




                 Explain Your Efforts to Receive a Briefing About Credit Counsehng


                                              About Debtor 1:                                                    About Debtor 2 (Spouse Onlyin a Joint Case):
     15. TeU the court whether
        you have received a
        briefing about credit                 You must check one:                                                 You must check one:
        counseling.
                                                  I received a briefing from an approved credit                   U   I received a briefing from an approved credit
                                                  counseling agency within the 180 days before I                      counseling agency within the 180 days before I
         The law requires that you                filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
         receive a briefing about credit          certificate of completion.                                          certificate of completion.
         counseling before you file for
                                                  Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
         bankruptcy. You must
                                                  plan, if any, that you developed with the agency.                   plan, if any, that You deve]oped with toe agency.
         truthfully check one of the
         following choices. If you
                                              U   I received a briefing from an approved credit                   U   I received a briefing from an approved credit
         cannot do so, you are not
                                                  counseling agency within the 180 days before I                      counseling agency within the 180 days before I
         eligible to file.
                                                  filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                                    ertificate of completion.                                         certificate of completion.
         If you file anyway, the court
                                                  Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
         can dismiss your case, you
                                                  you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
         will lose whatever filing fee
                                                  plan, if any.                                                       plan, if any.
         you paid, and your creditors
         can begin collection activities      U   I certify that I asked for credit counseling                    U   I certify that I asked for credit counseling
         again.
                                                  services from an approved agency, but was                           services from an approved agency, but was
                                                  unable to obtain those services during the 7                        unable to obtain those services during the 7
                                                  days after I made my request, and exigent                           days after I made my request, and exigent
                                                  circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                                  of the requirement.                                                 of the requirement.

                                                  To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                  requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                  what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                  you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                  bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                  required you to file this case.                                     required you to file this case.

                                                  Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                  dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                  briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                  If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                  still receive a briefing witlan 30 days after you file.             still receive a brieting within 30 days after you file.
                                                  You must file a certificate from the approved                       You must file a certificate from the approved
                                                  agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                  developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                  may be dismissed.                                                   may be dismissed.
                                                  Any extension of the 30.day deadline is granted                     Any extension of the 30-day deadline is granted
                                                  only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                  days.                                                               days.

                                              U   I am not required to receive a briefing about                   U   I am not required to receive a briefing about
                                                  credit counseling because of:                                       credit counseling because of:

                                                  U    Incapacity. I have a mental illness or a mental                Li   Incapacity. I have a mental illness or a mental
                                                                      deficiency that makes me                                            deficiency that makes me
                                                                      incapable of realizing or making                                    incapable of realizing or making
                                                                      rational decisions about finances.                                  rational decisions about finances.

                                                  U    Disability.    My physical disability causes me                U    Disability.   My physical disability causes me
                                                                      to be unable to participate in a                                   to be unable to participate in a
                                                                      briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                      through the internet, even after I                                 through the internet, even after I
                                                                      reasonably tried to do so.                                         reasonably tried to do so.

                                                   U   Active duty. I am currently on active military                  U   Active duty. I am currently on active military
                                                                      duty in a military combat zone.                                     duty in a military combat zone.

                                                   If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                   briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                   motion for waiver of credit counseling with the court.             motion for waiver of credit coLinseling with the court.




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                                                           Certificate Number: 1 5725-CAE-CC-0328534 19

                                                          1111111111111111111111111111111111111111111111111 HIM 11111111111
                                                                                I 5725-CAE-CC-032853419




                                CERTIFICATE OF COUNSELING

           I CERTIFY that on May 21, 2019, at 4:10 o'clock PM EDT, Beverly Perryman
           received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
           to provide credit counseling in the Eastern District of California, an individual [or
           group] briefmg that complied with the provisions of 11 U.S.C. 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date: May 21, 2019                              By:         /slCairnlo Fuentes


                                                           Name: Camilo Fuentes


                                                           Title: Issuer




             1ndividuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to ifie with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 52 1(b).
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         Debtor i        Beverly                                    Perryman
                        First Name    Middle Name
                                                                                                                         Case number   (llome)
                                                                  Last Name




        •ni           Answer These Questions for Reporting Purposes


               What kind of debts do                       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.
         16.
                                                           as "incurred by an indtvidual primarily for a personal, family, or household purpose.
                                                                                                                                                                        § 101(8)
               you have?
                                                           U     No. Go to line 16b.
    =                                                      U     Yes. Goto line 17.

                                                           Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                           money for a business or investment or through the operation of the business or investment.
                                                           U     No. Go to line 16c.
                                                           U    Yes. Goto line 17.

                                                           State the type of debts you owe that are not consumer debts or business debts.



        17.    Are you filing under
               Chapter 7?                           U    No.    I am not filing under Chapter 7. Go to line 18.

               Do you estimate that after                Yes.   I am filing under Chapter 7. Do YOU estimate that after any exempt property is excluded and
               any exempt property is                           administrative expenses are paid that funds will he available to distribute to unsecured creditors?
               excluded and                                     U    No
               administrative expenses
               are paid that funds will be                      U    Yes
               available for distribution
               to unsecured creditors?

        18. How many creditors do                   U    1-49                                       U    1,000-5,000                             U    25,001-50,000
               you estimate that you                U    50-99                                      U
               owe?
                                                                                                         5,001-10,000                            U    50,001-100,000
                                                    U    100-199                                    Li   10,001-25,000                           U    More than 100,000
                                                    LI   200-999

        19.    How much do you                      U    $0-$50,000                                 U    S1,000,001-$10 million                  U    $500,000,00141 billion
               estimate your assets to              U    $50,001-$100,000                           U
               be worth?
                                                                                                         $10,000,001-S50 million                 U    $1,000,000,001-S10 billion
                                                    U    5100,0014500000                            U    550,000,001-S100 million                U    $10,000,000,001450 billion
                                                    Li   $500,001-S1 million                        LI   S100,000,001-$500 million               Li   More than $50 billion
        20.    How much do you                      U    $0-$50,000                                 U    $1,000,001-$10 million                  U    $500,000,00141 billion
               estimate your liabilities            U    $50,001-5100,000                           U
               to be?
                                                                                                         S10,000,001-$50 million                 U    $1,000,000,001410 billion
                                                    U    $100,001-$500,000                          Li   $50,000,001-S100 million                LI   $10,000,000,001-$50 billion
                                                    U    S500,001-$1 million                        U    S100,000,001-$500 million               U    More than $50 billion
    •JT               Sign Below

        For you                                     I have examined this petition, and I declare under penalty of perjury that the information provided is true and
                                                    correct.

                                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                    of title ii, United States Code. I understand the relief available under each chapter, and I choose to proceect
                                                    under Chapter 7.

                                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                    this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                                    I request relief in accordance with the chapter of title ii, United States Code, specified in this petition.
                                                    I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                    18 U.S.C. §§ 152, 1341, 1519,       3571.



                                                         S~ i6natur~e of Debt           ~7~                                       signature of Debtor 2

                                                         Executed on                                                              Executed on
                                                                              MM / 00   ,'   YYYY                                                MM / OD / YYYY


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     Debtor 1      Beverly                              Peri'yman                                      Case numbers;
                   Frt Na,-   Middle Nene              Lest Namc




                                            I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
     For your attorney, if you are          to proceed under Chapter 7, 11, 12, or 13 of title ii, United States Code, and have explained the relief
     represented by one                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                            the notice required by 11 U.S.C. § 342(h) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
      If you are not represented            knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
      by an attorney, you do not
      need to file this page.
                                            x                                      ,                            Date
                                                Signature of Attorney for Debtor                                                MM /       DD / YYYY




                                                Printed name


                                                Firm name


                                                Number Street




                                                City                                                                            ZIP Code




                                                Confact phnne                                                   Email address




                                                Bar number                                                      State




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     Debtor   1    Beverly                                Perryman                                    Case number
                   rrst Na—    We Name                   Last Name




     For you if you are filing this           The law allows you, as an individual, to represent yourself in bankruptcy court, but you
     bankruptcy without an                    should understand that many people find it extremely difficult to represent
     attorney                                 themselves successfully. Because bankruptcy has long-term financial and legal
                                              consequences, you are strongly urged to hire a qualified attorney.
     If you are represented by
     an attorney, you do not                  To be successful. you must correctly file and handle your bankruptcy case. The rules are very
     need to file this page.                  technical, and a mistake or inaction may affect your rights. For example, your case may be
                                              dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                              hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                              firm if your case is selected for audit. If that happens, you could lose your right to file another
                                              case, or you may lose protections, including the benefit of the automatic stay.

                                              You must list all your property and debts in the schedules that you are required to file with the
                                              court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                              in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                              property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                              also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                              case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                              cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                              Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                              If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                              hired an attorney. The court will not treat You differently because you are filing for yourself. To be
                                              successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                              Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                              be familiar with any state exemption laws that apply.

                                              Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                              consequences?
                                                     No
                                                     Yes

                                              Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                              inaccurate or incomplete, you could be fined or imprisoned?
                                              UNo
                                                     Yes

                                              Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                                     No
                                                     Yes. Name of Person       Rebecca Escamilla cIba Fast Action Services
                                                          Attach Barrkni ploy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                              By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                              have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                              attorney may cause me to lose roy rights or property if I do not properly handle the case.


                                         JC                                                               x
                                                1   b7    cnre   of   Debtor   I           /                   Signature   of   Debtor 2

                                              Date                                                             Date
                                                                       MN/DO       /YYYY                                            MM/    DD/YYYY

                                              Contact phone                    -     2   9e , 2Q9              Contact phone

                                              Ccii   phone                                                     Ccii   phone

                                              Email address
                                                                                                          1rfr  a
                                                                                                             Eaii
                                                                                                               m address
                                                                                                      -               i
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           Debtor 1          Beverly                 Perrvmnn

           Debtor 2
           (Spouse, it filing)   First Niooe                  M,ddln quinn                     Lus   quinn


           United States Bankruptcy Court for the: Eastern                                     District of CA
                                                                                                           (State)
           Case number
                                 (if kirown)
                                                                                                                                                                                                              Check if this is an
                                                                                                                                                                                                              amended filing



     Official Form 106Sum
     Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                            12/15

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. Fill out all of your schedules first; then complete the information on this form, If you are filing amended schedules after you file
     your original forms, you must fill Out a new Summary and check the box at the top of this page.


     IflW' Summarize Your Assets



                                                                                                                                                                                                   Your assets
                                                                                                                                                                                                   Value of what You OWn
      1.     Schedule A/B. Property (Official Form 106AIB)
              is. Copy line 55, Total real estate, from Schedule ,4/B. .......... ..... .... ....... ..............................                                                                    $ 99,858.31



             lb. Copy line 62, Total personal properly, from Sc! irtduio A/B                 .............................................




             ic. Copy line 63, Total of all properly on Schedule A/B




                         Summarize Your Liabilities
                                                                                     ...............................................




                                                                                                                                                                                                   ES        O3,629 . 3l




                                                                                                                                                                                                   Your liabilities
                                                                                                                                                                                                   Amount you owe
             Schedule C Croditors Who Have C/aims Securodhy Property (Official Form 106D)
             2a, Copy the total you listed in Column A, A,'nouitt of c/olin, at the bottom of the last page of Part 1 of Schedule C                                                                        205,353.69
                                                                                                                                                                                                           ----.--             --




            Scltodule ElF: Creditors Who Have Urtsecured Cia/ins (Official Form 106EIF)
             3o Copy the total claims from Part 1 (priority unsecured cIn1ms! f'om inc Ge of Sirlindule F/u                                                                                            $ -0.00
                                                                                                                                                                                                           ........
                                                                                                                                                      .                  ...........

             3h Copy the total claims from Part 2 (rronpriorily unsecLired claims) from line bj of Schedule F/F ......                                          ....... ......... ... .....

                                                                                                                                                                                                   +       40.497,02


                                                                                                                                                                                                           245,850.71
                                                                                                                                                              Your total Itabilihes                    $



                         Summarize Your Income and Expenses


            Schedule I' Your Income (Official Form 106!)
                                                                                                                                                                                                             .853.06
             Copy your oornb,ned ir ori)h!y ricocie frori mo 12 of                OLuOa,,,r :,...                                                                                         . .'         $


            Sc/tedule J; Your Expenses (Official Form 1 063)
             Copy your monthly expenses from line 22c of Schedule J                     .... ....... ......... .... ... .............. ....... ............
                                                                                                                                                               ...................... ..........       .




     Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical tnformation                                                                           page 1 of 2
Filed 05/29/19                                                             Case 19-12257                                                                         Doc 1

      Debtor I        Beverly                             Perrymrin
                       F,,st N,ne    Middie Nee,e
                                                                                                             nume
                                                          Leu N,,eo




                     Answer These Questions for Administrative and Statistical Records


      6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

           U     No. You have nothing to report on this pad of the form. Check this box and submit this form to the court with your other schedules.
                 Yes


      7   What kind 01 debt do you have?

                 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a porsonal,
                 family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 89g for statistical purposes. 28 U.S.C. § 159.

          U      Your debts are not primarily consumer debts, You have nothing to report on this part of the form. Check this box and submit
                 this form to the court with your other schedules.



          From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
          Form 122A-1 Line 11: OR. Form 1228 Line 11; OR, Form 122C1 Line 14.
                                                                                                                               .




          Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                                Total claim


            From Part 4 on Schedule F/F, copy the following:



          9a Domostc suppol obligations (Copy inC Ga i                                                            0.00



               Taxes and certa:n other debts you owe the government. (Copy line 6b.)                              0.00


               Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                  s 0.00



               Student loans, (Copy line 6f.)                                                                     0.00


               Obligations arising out of a separation agreement or divorce that You did not report as            0.00
               priority claims. (Copy line 6g.)


               Debts to pension or profitsharing plans, and other similar debts. (Copy line 6h              +     0.00



          99. Total, Add lines 9a throucrh Of.                                                                    0.00




          Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
Filed 05/29/19                                                                                           Case 19-12257                                                                             Doc 1



            Debtor 1                Beverly                                                                    Perryman
                                 First Name                          Middle Nmne                    LSsl Nurne

            Debtor 2
            (Spouse it   filinp) First Name                          Middle Nrsrre                  I   .ini   Nrrrrut


            United States Bankruptcy Court for the                      Eastern                         iisbict of          Ci\        --
                                                                                                                         (State)
            Case number

                                                                                                                                                                     U    Check if this is an
        •                                                                                                                                                                 amended filing

            Official Form 106A/B
            Schedule A/B:                                       Property                                                                                                                12/15
            In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
            category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together ,
                                                                                                                                         both are equally
            responsible for supplying correct information. If more space is needed attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known). Answer every question.

    •T&                     Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

        1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

               U       No. Go to Part 2.
                ~J Yes. Where is the property?
    •                                                                                    What is the property? Check all that apply.
                                                                                                                                            Do not dedLict secured claims or exemptions. Put
                                                                                             J    Sniulv-tarni:y ilOr'tJ                    the amount Of any secured clhims on Ccl iedulrn C:
                   i      2853 E. MaoilI Ave                                                 -
                                                                                                  Duplex or multi-unit building             Creditors Who Have Clairnd Secured by Pioperty.
                          Street address,     if   available, or other description
                                                                                         U        Condominium or cooperative
                                                                                                                                            Current value of the Current value of the
                                                                                          Li      Manufactured or mobile home               entire property?      portion you own?
                                                                                                  Land                                      oflS7l7flfl                    9024;Ri

                                                                                         U        Investment property
                          Fresno                                CA             93710
                         City                                   State        LIP Code
                                                                                         Li       TirneshaC                                 Describe the nature of your ownership
                                                                                             .                                              interest (such as fee simple, tenancy by
                                                                                                  Other
                                                                                                                                            the entireties, or a life estate), it known.
                                                                                         Who has an interest in the property? Check one.
                                                                                                                                            Sole Owner
                         Fresno                                                                  Debtor 1 only
                         County                                                          Li Debtor 2 only
                                                                                         U l)ebtor 1 and Debtor 2 only                      U   Check if this is community property
                                                                                         Li At least one of the debtors and another             (see instructions)

                                                                                         Other inlormation you wish to add about this item, such as local
                                                                                         property identification iumber:
               If you own or have more than one, list here:
                                                                                        What is the property? Check all that apply.
                                                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                                        U        Single-family home                         the amount of any secured claims on Schedule Di
                1 2                                                                                                                .    .   Creditors Who Have C/el ins Secured by Pro peily.
                         Street address,                                                         Duplex or multi-unit building
                                              if   available or other description
                                                                                        U        Condominium or cooperative                 Current value of the         Current value of the
                                                                                        U        Manufactired or mobile home                entire property?             portion you own?
                                                                                        Li       Land
                                                                                                                                            $                            $__________________________
                                                                                        U        Investment property
                                                                                                 Tmeshare                                   Describe the nature of your ownership
                         City                                   State       ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                                        Li       Other
                                                                                                                                            the entireties, or a life estate), if known.
                                                                                        Who has an interest in the property? Check one.
                                                                                        Li Debtor 1 only
                         County                                                         Li Debtor 2 only
                                                                                        LI Debtor 1 and Debtor 2 only                       U   Check if this is community property
                                                                                        Li At least one 01 the debtors and another              (see instructions)

                                                                                        Other information you wish to add about this item, such as local
                                                                                        property identification number:



             Official Form 106A/B                                                       Schedule AJB: Property                                                                    page 1
Filed 05/29/19                                                                            Case 19-12257                                                                                  Doc 1
      Debtor 1              Beverly                                 Perryntan
                           First Name     Middie Name
                                                                                                                        Case number
                                                                 Lest Name




                                                                             What is the property? Check all that apply
                                                                                                                                      Do not deduct secured claims or exemptions. Put
            1.3.                                                                U    SrngIe-family home                               the amount of any secured claims on Schedule 0:
                                                                                                                                      Creditors Who Have Cia/ins Secured by Property.
                    Street addiess, if available or other description           U    Duplex or multi-unit building
                                                                                U    Condominium or cooperative                       Current value of the       Current value of the
                                                                                                                                      entire property?           portion you own?
                                                                                     Manufactured or mobile home
                                                                             U       Land                                                                     $___________________
                                                                             U       Investment property
                    City                             State    ZIP            U       Timeshare                                        Describe the nature of your ownership
                                                                                                                                      interest (such as fee simple, tenancy by
                                                                             D       Other
                                                                                                                                      the entireties, or a life estate), if known.
                                                                             Who has an interest in the property? Check one.

                   County
                                                                             U      Debtor 1 only
                                                                             U      Debtor 2 only
                                                                             Li     Debtor 1 and Debtor 2 only                        U   Check if this is community property
                                                                             U      At Jesl one of the debtors and another                (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:



          Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
          you have attached for Part 1. Write that number here. ....... ...................................................................                     $ 99,858 31
                                                                                                                                                    .. .




                     Describe Your Vehic'es



     Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
     you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executoiy Contracts and Unexpired Leases.


          Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          LiMo
          KJ Yes

          3.1.     Make:                        1111-111iti                  Who has an interest in the property? Check oite
                                                                                                                                      Do no/deduct secured claims or exemptions, Put
                                                                             -r                                                       the amount of any secured claims on Schedule 0:
                   Model:                       FX 35                        k      Debtor 1 only
                                                                                                                                      Cmeditors Woo Have Cia/nix Secured by Prooerty.
                                                                             UDehtot2only
                   Year                         2003
                                                                             Li     Debtor 1 and Debtor 2 only                        Current value of the      Current value of the
                   Approximate mileage:        172 , 277                                                                              entire property?          portion you own?
                                                                             Li     At least one of the debtors and another
                   Other information.
                                                                             U Check if this is community property (see               $2,800.00                 $2800.00
                                                                                    instructions)



          If you own or have more than one, describe here:


          3.2.     Make                                                      Who has an interest in the property? Chock one.
                                                                                                                                      Do not deduct secured cia/ms or exentptions. Put
                   Model:                                                           L)eotor 1 only                                    the amount of any secured claims on ScheduleD:
                                                                                                                                      Cied/tors Who Have C/a/nix Secured by Propeily.
                   Year
                                                                             U-.    Debtor 2 only
                                                                                    Debtor 1 and Debtor 2,. only                      Current value of the      Current value of the
                   Approximate mileage:                                                                                               entire property?          portion you own?
                                                                             Li     At least one of the debtors and another
                   Other information:

                                                                             U Check if this is community property (see
                                                                                    instructlotls)




     Official Form 106A/B                                                    Schedule A/B: Property                                                                     page 2
Filed 05/29/19                                                                                        Case 19-12257                                                                                                                                   Doc 1
     Debtor 1                 Beverly                                     Perryman                                                                        Case number             if
                            first Nerne                    Middle Nerns   Lest Nenre




            33     Make;                                                               Who has an interest in the property? Check one.                                                          Do not deduct secured claims orexemptions. Put
                                                                                       --                                                                                                       theamount of any secured claims on Schedule 0:
                   Model;                                                                    Debtor 1 Only
                                                                                                                                                                                                Creditors Who Have Claims Secured by Property,
                                                                                       U     Debtor 2 only
                   Year.                                                                                                                                                                        Current value of the         Current value of the
                                                                                       U     Debtor 1 and Debtor 2 Only
                   Approximate mileage.                                                                                                                                                         entire property?             portion you own?
                                                                                       U     At least one of the debtors and another
                   Other nforrnation;
                     ..................................-
                                                                            ;          U Check if this is community property (see
                                                                                             inslruclionel


                   Make;                                                               Who has an interest in the property? Check one.                                                          Do not deduct secured claims or exemptions. Put
            3.4.
                                                                                                                                                                                                the amount of any secured claims on Schedule 0;
                   Model;                                                              71 Debtor 1 only                                                                                         Creditors Who Have Claims Secured by Prdperty.
                                                                                       U Debtor 2 only                                                                                      .                         ....     •.   :   .

                   Year.
                                                                                       U Debtor 1 and Debtor 2 only                                                                             Current value of the         Current value of the
                   Approximate mileage.                                                                                                                                                         entire property?             portion you own?
                                                                                       U At least one of the debtors and another
                   Other information;

                                                                            .
                                                                                       U Check if this is                   community property (see
                                                                                             instructiona)




     4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
            Examples; Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

             JNo
            UYes



            4.1,   Make;                                                               Who has an interest in the property? Check one.                                                          Do not deduct secured claims or ekemptions. Put
                                                                                                                                                                                                the amount at any secured claims on Sc! cr1 rile 0:
                   Model;                                                                    Debtor 1 only
                                                                                                                                                                                                Creditors Who Have Clans Scoured by Property.

                   Year.
                                                                                       U     Debtor 2 only
                                                                                       U     Debtor 1 and Debtor 2 only
                                                                                                                                                                                                Current value of the         Current value of the
                   Otner nformation.                                                   U     At least one of the dobtors and another                                                            entire property?             portion you own?


                                                                                       U Check if this                 is community property (see
                                                                                             instructions)




            If you own or have more than one, list here;

                   Make;                                                               Who has an interest in the property? Check one.                                                          Do not deduct secLired claims or exemptions. Put
            4.2.
                                                                                       r"-                                                                                                      the amount of arty secured claims on ScheduleD:
                   Model;                                                                    Debtor 1 only
                                                                                                                                                                                                Creditors Who Have Clahns Secured by Property.
                                                                                       U     Debtor 2 only                                                                              .                         .
                                                                                                                                                                                                                      .

                   Year;                                                                                                                                                                        Current value of the         Current value of the
                                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                                                                entire property?             portion you own?
                                 infori-natiom
                                                                                             At least one of the debtors and another
                                                                                       U
                                                                                       U Check        if this is community property (see
                                                                                             instructions)




     s. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                                                          , $ 2,800.00
            you have attached for Part 2. Write that number here                              .................................................................................................................




          Official Form 106A/B                                                              Schedule A/B: Property                                                                                                                          page 3
Filed 05/29/19                                                                  Case 19-12257                                                                                    Doc 1
     Debtor 1          Beverly                            .   Perrymail                  .                    Case number       ilk   emS
                      01st Na—            Mic.dIe Name        Lest Name




     flTh' Describe Your Personal and Household Items

                                                                                                                                                      Current value of the
     Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                      portion you own?
                                                                                                                                                      Do n'S de,tica secured cdims
                                                                                                                                                      or exemptions
        Household goods and furnishings
        Examples: Major appliances, furniture, linens, china, kttchenware
        UNo
             Yes Describe,                Basic Household Furnishings
                                                                                                                                                        $_450 00

        Electronics
        Examples. Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                      collections; electronic devices including cell phones, cameras, media players, games
             No                           ....           ..


        U    Yes. Describe


       Collectibles of value
        Examples; Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections, other collections, memorabilia, collectibles
          JNo                             .........................................
        U    Yes. Describe
                                                                                                                                                        5

        Equipment for sports and hobbies
        Examples; Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                      and kayaks; carpentry toots; musical instruments
             No
        U    Yes. Describe ........
                                                                                                                                                      'S

        Firearms
        Examples. Pistols, rifles, shotguns, ammunition, and related equipment
         JNo
        U    Yes. Describe ..........
                                                                                                                                                        $

     11.Clothes
        Examples; Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        UN0
        I1   Yes. Describe ........... Personal Clothing                                                                  . .                               300.00______________



        Jewelry
        Examples; Everyday jewelry, costume jewelry, engaoemenl rings wedding rings, heirloom jewelry, watches, gems,
                  gold, silver

             No
                es. Describe ..... Basic .les'elrv Items                                                                                                s   50.00

        Non-farm animals
        Examples; Dogs, cats, birds, horses

             No
        U    Yes, Describe                                                                                                                              S____________________


        Any other personal and household items you did not already list, including any health aids you did not list

             No
        U    Yes. Give specific
             information ..............

        Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                            800_00
        for Part 3. Write that number here ..................................................................... ................................
                                                                                                                                                  9


      Official Form 106A/B                                                Schedule A/B; Property                                                                     page 4
Filed 05/29/19                                                                                                             Case 19-12257                                                                                                                               Doc 1
         Debtor 1                  Beverly                                                   Perryman
                                  Fast Name                rirciNie Name
                                                                                                                                                                             Case number riCeracci
                                                                                             a51 Name




                           Describe your Financial Assets


       Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                                                                            Current value of the
                                                                                                                                                                                                                                            portion
                                                                                                                                                                                                                                                     you own?
                                                                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                                                                            or exemptions.

       16 Cash
             Examples. Money you have in your wallet, in your home, in a safe depost box, and on hand when you file your petition

                    No
    •Ll Yes .......... .... ... ............................................ .............................. ....... ................ ........ ... ..... ............................
                                                                                                                                                                                       .....Cast.....
                                                                                                                                                                                                   ....................



            Deposits of money
             Examples: Checking, savings, or other financial accountsl certificates of depositl shares in credit unions, brokerage houses,
                                 and other similar institutions. If You have multiple accounts with the same institution, list each.
             UNo
               J Yes                                                                                            Institution name:


                                                          17 I    Chock:ng account:                             Chase Bunk
                                                                                                                                                                                                                                           s12-00
                                                          17,2.   Checking account:                             Noble_Crcdii Union                                                                                                              4.00
                                                          17.3.   Savings account                               Noble Credit Union
                                                                                                                                                                                                                                             s_5.00
                                                          174     Savings account
                                                                                                                                                                                                                                             $________________
                                                          17.5,   Certificates of deposit:

                                                          176,    Other financial account:

                                                          17.7.   Other financial account:

                                                          17.8.   Other fnanciai account:

                                                          17.9.   Other tinanciui as:ccunl..
                                                                                                                                                                                                        •   ............................     $________ _________




            Bonds, mutual funds, or publicly traded stocks
           Examples: Bond funds, investment accounts with brokerage firms, money market accounts
                   No
            U Yes                                         Institution or issuer name:




            Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
            an LLC, partnership, and joint venture

                   No                                    Name of entity:                                                                    .                                                   % of ownership:
            U Yes. Give specific
               information about
                                                         ---------,,•,,,,----,-•—.--.-----.---.-•-----.-,----.—,--.-----,-----...—.-----.---.--------
                                                                                                                                                                                                                                            S




       Official Form 106A/B                                                                                 Schedule NB: Property                                                                                                                       page 5
Filed 05/29/19                                                                                   Case 19-12257                                                                                                             Doc 1
      Debtor 1                                                               Pt
                               HrM N,,,e           M,ddie Ne
                                                                                                                                                                     Case number iiran,',i
                                                                              in,,,




     20.   Government and corporate bonds and other negotiable and non-negotiable instruments
           Negotiable instruments include personal checks, cashiers ' checks, promissory notes, and money orders.
           Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

                 No
                 Yes. Give specific                Issuer name
                 information about
                 them




     21 Retirement or pension accounts
           Examples. Interests in IRA, ERISA Keogh, 401(k), 403(b). thrift say ngs accounts, or other pension or profit-sharing plans

                 No
                 Yes. List each
                 account separately.. Type of account:                       Institution name.

                                                   401(k) or similar plan:

                                                   Pension plan:

                                                   IRA:

                                                   Retirement account -

                                                   Keogh .                                                                                                                                   __        _________________
                                                                                                                  .   ....................................................
                                                   Additional account

                                                   Additional account:



     22 Security deposits and prepayments
           Your share of all unused deposits you have made so that you may continue Service or use from a company
           Examples. Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
           companies, or others

                No

           D    Yes                                                      Inst tution name or individuar
                                                   Eiectric:

                                                   Gas:

                                                   Healing oil:

                                                   Secur'ty doposit on rental unit
                                                                                                                                                                                                  $___________
                                                   Prepaid rent:

                                                   Telephone'                                                                                                                                                              4
                                                                                                                                                                                                  $
                                                   Water:
                                                                                                                                                                                                  -C

                                                   Rented furniture:

                                                   Other:                                       -
                                                                                                      -




    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

            1No

           LJ   Yes.. ... ........... ..........   Issuer name and description:



                                                      ___                             -.'.'---____-------------------------'.".--_




     OlficiI :orm 106A18                                                                 Schedule Ala: Property                                                                                               page 6
Filed 05/29/19                                                                                 Case 19-12257                                                                                 Doc 1
      Debtor 1             Beverly                                          Perrynian
                         First Name
                                                                                                                           Case number
                                                    Middie Name            Last Name




     24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

              No
         U    Yes    .....................................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c).
                                                                                                                                           ___________

                                                                                                                                                                     S




        Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
        exercisable for your benefit

              No
         Li   Yes. Give specific
              information about them
                                                         ..                                                                                                          $___________________

        Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names. websites, proceeds from royalties and licensing agreements
              No
        Li Yes. Give specific
            information about them.
                                                          .                                                                                                         $________________


     27, Licenses, franchises, and other general intangibles
        Examples: Building permts, exclusive licenses, cooperative association holdings, liquor licenses, professonal licenses

          J No
        Li    Yes. Give specific
              information about them...


     Money or property owed to you?
                                                                                                                                                                     Current value of the
                                                                                                                                                                     portion you own?
                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                     claims or exemptions.
     28. Tax refunds owed to you

              No
              Yes. Give specific information                  2018 income Tax Refund
                   about them including whether                                                                                             Federal               $______
                                                                                                                                       .
                   you already filed ti - c returns                                                                                         State:                $__30 . 00
                   and the tax years .....
                                         ...... .............

                                                                                                                                            Local'                $________


     29 Family support
        Examples. Past due or lump euro almony, spousal support, child support, maintenance, divorce settlement, property settlement
              No
        Li    Yes. Give specific information. .,.,,,,,.
                                                                                                                                           Alimony;                 $

                                                                                                                                           Maintenance;             $
                                                                                                                                           Support:                 $

                                                                                                                                           Divorce settlement:      $
                                                                                                                                           Property settlement:     $

     30. Other amounts someone owes you
         Earnpies. Unpaid wages, disao:lsy insurance payments, disability benefits, s:ck pay. vacation pay,
                                                                                                                                    workers compensation,
                        Social Security beneuits unpaid loans you made to someone else
              No
        Li    Yes. Give specific information. .......... ....




     Official Form 106A/B                                                               Schedule A/B: Property                                                                 page 7
Filed 05/29/19                                                                                             Case 19-12257                                                                                                                 Doc 1
      Debtor    I            Beverly                                            Perryriian _______
                                                                                                                                                      Case number
                              ru Na.—             Mddie Nrrrr'e                Lru Nrr,e




          Interests in insurance policies
          Examples. Health, disability, or life insurance, health savings account (HSA): credit, homeowner's, or renter's insurance
                No
          LI    Yes. Name the insurance company
                                                                              CorTrpany name                                                              Beneficiary                                       Surrender or refund value.
                     of each policy and list its value...

                                                                                                                                                                                                            $




          Any interest in property that is clue you from someone who has died
          If you are the beneficiary of a living trust, expect pococds from a life insurancc p01 cy, or are currently entitled to receivo
          property because someone has died
                No
          LI    Yes. Give specific information . ..... ......



     33 Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
          Examples: Accidents, employment disputes, insurance claims, or rights to sue
                No
          LI    Yes. Describe each claim ...... ..............


          Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
          to set off claims
                No
          LI    Yes, DescribeeachcIaim ......... .............




         Any financial assets you did not already list

            No
          rn.
            Yes. (dive specific intormation
                                                                                                                                                                                                            $___________________


     36, Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        forPart 4. Write that number here ........................................................................................................................................................          $171.00




                        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

         Do you own or have any legal or equitable interest in any business-related property?
                No. Goto Part6.
          U     Yes. Go to line 38.

                                                                                                                                                                                                       •Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do rrotdeduct secured claims
                                                                                                                                                                                                        or exemptions
         Accounts receivable or commissions you already earned


          LI
                No
                                                                                                                                                                           --,-
                Yes. Describe....


          Office equipment, furnishings, and supplies
                                                                                                                                                                                           —- - - - - - I
          Examples: Business-related computers, software, modems, printers, copiers rax machines, rugs, telephones, desks, chairs, electronic devices
          UN0
                                                                                                                                                                       -.- ....-       ------

               Yes. Describe...
                                                                                                    ---------------------------------------------------------


      Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                  page 8
Filed 05/29/19                                                                       Case 19-12257                                                                        Doc 1
          Debtor 1         Beverly                              Perryman
                           -ira Serrre
                                                                                                       Case number
                                           Middle Nere          Ierr Nrrnre




         40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

             UNO
             U Yes, Describe



         41lnventory
                 No
             U Yes. Describe
                                                                                                                                           $_____________________


        - 42. Interests in partnerships or joint ventures
             UNo
             U Yes. Describe .......Name of entity:
                                                                                                                     rt r   of ownership




            Customer lists, mailing lists, or other compilations
             UNO
             U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C.
                                                                                                          § 101(41A))?
                       UN0
                       U Yes. Describe........


            Any business-related property you did not already list
    •            No
             U Yes. Give soecific

                                                                                                                                            $______________________________




                                                                                                                                            S

            Add the dollar value of all of your entries from PartS, including any entries for pages you have attached
            for Part 5. Write that number here                                                                                        -




    •JTi4.             Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest 1n
                       If you own or have an interest in farmland, list it in Part 1.


            Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
              J No. Go to Part 7.
             U Yes. Go to line 47.

                                                                                                                                           Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured claims
                                                                                                                                           or exemptions.
            Farm animals
            £Hxornp!es: Livestock, poultry, far'n-raised lish

                No
            U Yes ...... ................... .."'




          Official Form 106A/B                                                Schedule A/B: Property                                                     paqe 9
Filed 05/29/19                                                                                     Case 19-12257                                                                               Doc 1
                          Ii ever I y                                     I)
      Debtor 1                                                                 ci r\min -              -
                         First Caine           Middle Carrie
                                                                                                                                    Case number
                                                                          Lest Nn-,e




        Crops—either growing or harvested

        LiNo                               n-•-----•-              .----.--..-

        Li   Yes. Glve specific
             information .............

        Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

        U         ................. ..............
             Yes ..........



     so. Farm and fishing supplies, chemicals, and feed
        IUNo
        Ues ........ ................. .




     51.Any farm- and commercial fishing-related property you did not already list
             No
        U    Yes. Give specific
             information ... ..... ....


     52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
         tot 7art 6. CL'rite hut nuit'tbur tutu




   Lk                Describe All Property You Own or Have an Interest in That You

        Do you have other property of any kind you did not already list?
        Exatr/esr Season tickets country club membership

             No                            ............................                                                         -
        Li   Yes. Give specific
             information ... ..........
                                           .I                                                                                                                             $_________________




       Add the dollar value of all of your entries from Part 7. Write that number here                                                                                    $ 0.00
                                                                                                                                                               4


   NTIl:            List the Totals of Each Part of this Form


    55.Part1: Total real estate, line 2 ....................................                                                                                           $99858.31
                                                                                                                                                                   4
       Part 2: Total vehicles, line S                                                                          E2800 00

       Part 3: Total personal and household items, line 15                                                     $800.00___________

       Part 4: Total financial assets, line 36                                                                 $ _71.00
       Part 5: Total business-related property, line 45                                                        $0.00

       Part 6: Total farm- and fishing-related property, line 52                                               $0.00

       Part 7: Total other property not listed, line 54                                                    +

       Total personal property. Add lines 56 throu 91 -i 61
                                                                                                                                    Copy personal property total   4 +$   3,771.00



       Total of all property on Schedule A/B. Ada line 55                              +   ltne 62 .................................................. ..               Sl03,29 31



     Official Form 106A/B                                                                  Schedule NB: Property                                                                     page 10
Filed 05/29/19                                                                             Case 19-12257                                                                                        Doc 1


                            Beverly                                                        Perryman
       Debtor 1                             _____________________________
                           Fusi Nutria                      vitals Plan's             -    L351   'ldni,
       Debtor 2
       (Spouse, if fiitng) Fast   sante                       MiScUe Narita                LaSt See

       United States Bankruptcy Court for the:               Eastern
                                                                                           District of CA
                                                                                                           (Slate)
       Case number
       (it known)                                                                                                                                                        Li   Check if this is an
                                                                                                                                                                              amended filing


     Official Form 1060

                                                                                                                                                                                        12/15

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
     Using the property you listed on Schedule A/B: Propeily (Official Form 106A1B) as your source, list the property that you claim as exempt. If more
     space is needed, fill out and attach to this page as many copies of Pail 2: Additional Page as necessary. On the lop of any addlonai pages, write
     your name and case number (if known).

     For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
     specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
     of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and taxexempt
     retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
     limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
     would he limited to the applicable statutory amount,


     II                Identify the Property You Claim as Exempt


          Which set of exemptions are you claiming? Check one only, evon if your spouse is filing with you.
           U    You are claiming state and federal nonbankruplcy exemptions. 11 U.S.0 § 522(h)(3)
             J YOU     are claiming federal exemptions. 11 U.S.C. § 522(h)(2)



          For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


            Brief description of the propertyand line on                      Currentvalue of the              Amount of the exemption you claim        Specific laws that allow exemption
            Schedule A/B that lists this property                             portion you own

                                                                              (2opy the value from             Check only one box fur eacn exempt/on.
                                                                              Schedule A/B

           Brief                                                                                                                                        704.01 0(h)(2)
           description:               203_[nuinitiJX.3i_                        2800.00                          J S 2800.00
           Line from                                                                                           U     100% of fair market value, up to
           Schedule A/B                   3.1                                                                        any applicable statutory iimit

           Brief
                                      2853 E. Magill Ave, Fresno               t99858.31                                                                704,730
           description:                                                                                          J $ 99858.31
           Line from                      1.1
                                                                                                               U 100% of fair market value, up to
           Schedule A/B                                                                                              any applicable statutory limit

           Brief
                                          PIt In ome Tax Re..1111(1                                                                                     704.080
           description:                                                       SIOQO                                  S 150.00
           Line from                                                                                           U     100% of fair market value, up to
           Schedule A/B:                  28                                                                         any applicable statutory limit


      3. Are you claiming a homestead exemption of more than $155,675?
           (Subject to adjustment on 4/01/16 and every 3 years after that for cases tiled on or after the date of adjustment.)
          FA No
          U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                F- I
                i..t   No
                IU     Yes



     Official Form 106C                                                       Schedule C: The Property You Claim as Exempt                                                        page 1 012
Filed 05/29/19                                                                              Case 19-12257                                                                                Doc 1
      Debtor 1          Beverly                                   Pcrrvman
                        Feat Name
                                                                                                                          Case number y
                                            MCdie Name           Leet Name




                       Additional Page


             Brief description of the, property and tine                 Current value of the            Amount of the exemption you claim          Specific laws that allow exemption
             on Schedule A/B that lists this property                    portion you own

                                                                         Copy the value from             Check only one box for each exemption
                                                                         Schedule/iD

            Brief                                                                                                                                  704.080
                             .s-Clieckiiis
                                                                             sJ.?..2P                    22   S
            Line from                17.1                                                                U    100% of fair market value, up to
            Schedule A/B:                                                                                     any applicable statutory limit

           Brief                                                                                                                                   704 0Q
                                    Noble CIJ-Checkmg                                                                                               __.±•..
           description.                                                                                 s oo                                                                      -_

            Ltne from                                                                                   U 100% 01      lair market value, Lip to
                                     172
            Schedule A/B:                                                                                     any applicabte statutory limit


                                    Basic l-lousehold Furnishings                                                                                  704.020
                 ':ription                                               $ 45000                        $ 450.00
            Line from               6
                                                                                                         U    100% of fair market value, up to
            Schedule A/B:                                                                                     any applicable statutory limit

           Briet                                  .                                                                                                704.020
                                    Personal Clothmg                     50.1)0
           description:                                                                                       $ SOftOO
           Line from                 Ii                                                                  U    100% of lair market value, up to
           Schedule A/B:                                                                                      any applicabte statutory limit

           Brief                                                                                                                                   704.0110
                                    Basi c Jeelry
                                            w     Items
           description                                                   $.92Q                                s so 00
           Line from                                                                                     U    100% of fair market value, up to
                                     12
           Schedule A/B:                                                                                      any applicable statutory limit       --

               f
                                    Noble                                                                                                          704.080
           description:                                                  s                       •            s po
           Line  m                   1T3
                                                                                                         U    100 of fai l r a kmtval w Lip to                                      -
           Schedule A/B:                                                                                      any applicab]e statutory limit

           Brief
           description.
           Line from                                                                                     U    100% of fair market value, up to
           Schedule A/B.                                                                                      any applicable statutory limit

           Brief
           description:                                    --...-.-      $..._......______               Us
           Line from                                                                                     U    100% of fair market value, up to
           Schedule A/B:                                                                                      any applicable statutory limit


           Brief
           description.             -                    ---.-,.-        $_________________              U    S
                                                                                                         U    100 of fair market value up to
           Schedule A/B:                                                                                      any applicable statutory limit

           Brief
           description:             —                                    S                   .           U    S
           Line from                                                                                     U    100% of fair market value, up to
           Schedule A/B:                                                                .                     any applicabte statutory limit

           Brief
           description:                                      --...                                      U     S -___________
           Line from                                                                                    U     100% of fair market value, up to
           Schedule A/B:                                                                                      any applicable statutory limit


           Brief
           description.                                                           ...............___.    U
           Line from                                                                                     U    100% of fa:r market value, up to
           Schedule A/B:                                                                                      any eppitcatlo, statutory limit



       Official Form 1060                                             Schedule C: The Property You Claim as Exempt                                                  page 2    of2
Filed 05/29/19                                                                                               Case 19-12257                                                                                         Doc 1



       Debtor 1              Beverly                                                                        Perr)'il-aI
                             I-irS Name                            MUStS Name

       Debtor 2
       lttSr5e, if flung)    Fir-il rear-a                         Sir-, i,rtilr,U,-                        I a,ll   55,5,,



       United States Bankruptcy Corel t:us the: Eastern                                                     Diet ml p CA
                                                                                                                     (State)
       Case number
       (If known)
                                                                                                                                                                                      U Check if this is an
                                                                                                                                                                                          amended filing

       Officia' Form 1060
       Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                           12115
       be as coiriplete and accurate as possible. II two married people are tiling together, both are equally responsible br supplying correct
       information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
       additional pages, write your name and case number (if known).


          Do any creditors have claims secured by your property?
           U     No, Check this box and submit this form to the court with youi airier schedules You nave nothing else to report on this form
           U     Yes. Fill in all of the information below.


                     List AU Secured Claims
                                                                                                                                                       Column A
         List all secured claims. If a creditor has more than one secured claim, list the creditor separately                                                                 Column B                  Column C
         for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                                         Amount of claim        Value of collateral       Unsecured
                                                                                                                                                       Do not deduct the      that supports this        portion
         As much as possible, list the claims in alphabetical order according to the creditor's name,
                                                                                                                                                       value of collateral,   claim                     If any

             Bayview Loan Servicing                                              Describe the property that secures the claim:                         s205353 . 69                                     99858,31
                                                                                                                                                                              s3L2pQ
            Cri"direr'x Name
                                                                                2853 L. i\'lattill !'\ve
             11 0 Box 650091
                                                                                Fresco. CA 93710
            Nsnsbsr      Street

                                                                                 As of the date you file, the claim is: Check all that sppiy
                                                                                 li Contingent
            Dallas                                      TX    75265              U     Urr(iquioated
   I       City                                     State    ZiP Code
                                                                                 U     Disputed
       Who owes the debt? Check one,                                             Nature of lien. Check all that apply
         J Debtor 1 only
                                                                                       An agreement you made lsuch as mortgage or secured
       0      Debtor 2 only                                                            car toes)
       0      Debtor 1 and Debtor 2 only                                         U     Statutory hen (such as tax iCrt, rarecharl to's I sri )
       U     At least one of the debtors and another                             U     Judgment ken from a icre'suit
                                                                                 L,    Ditiet (.trcijc.trr'rg a riuhu to olsre)
       U     Check if this claim relates tea
             community debt
       Date debt was incurred 06/2014                                        - Last 4 digits of account number 8                    7     7       4

                                                                                 Describe the property that secures the claim:                        S                       S                     S
          Creditor's Narri


          Nsrnher             Street

                                                                                As of the date you file, the claim is: Check sit that opply
                                                                                 U     Contingent
                                                                                       U rrlc u I d tiled
          City                                      State    ZIP Code
                                                                                U      Diypeied
       Who owes the debt? Check orre.                                           Nature of lien. Check all that sooty
       U     Debtor 1 only                                                      U      Art agreement you made (such as rllcrrtqet'le or secured
       U     Debtor 2 or-tv                                                            car earl'
       ri             I ailSi 1Jr-ULUi
                                             - a only                                  ,aiauIlu' y r-r- ismrt as sic lieln,              tier-u
       U     At least one of the debtors and ar-ether                           U      Judq , iient hart ri em ri icrwsu,
                                                                                U      Other )rciudlrrg a tsih: to offset)
       U     Check if this claim relates to a
             community debt
       Date debt was incurred ,                                              - Last 4 digits of account number -
          Add the dollar value of your entries in Column A on this page Write that number here                                                        IS   205,353.69

        Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                               page 1 oIl
Filed 05/29/19                                                                                       Case 19-12257                                                                                                               Doc 1


                               Beverly                                                                  Perrvman
       Debtor 1
                               First   Name                               Middle Name                 Las: Satire

       Debtor 2
        Spouse i t Sties) r55 Sam-                                        MadS mite


       United States Bankruptcy Court for the                                Etistern
                                                                                                       District of
                                                                                                                        (State)
       Case number                                                                                                                                                                                    Li   Check if this is an
        If kirOwn
                                                                                                                                                                                                           amended 5iling


      Official Form 106E/F
      Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                                                              12115
     Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
     List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
     A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases
                                                                                                              (Official Form 106G). Do not include any
     creditors with p:tttaliy secured clams that ale listed in Schedule D: C,editurx VVho Have C/aC,ns Socurci
                                                                                                                   By Property, If more space is
                        ,tyu Cc
                                                                                                                                                  ocof


                        List AU of Your PRIORITY Unsecured Claims

         Do any creditors have priority unsecured claims against you?
         Pq No Go to Part 2.
         Liyes.

         List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible list the claims in alphabetical order according to the creditors name. If you have morethan two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, I St the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instructon hookIet.)
                                                                                                                                                                                  Total claim       Priority       Nonpriority
                                                                                                                                                                                                    amount         amount

                                                                                    -       Last 4 digits of account number                                                   $                 $                S _____
           Priory    Cirdic 'e         hj.-.



                                                                                            When was the debt incurred?
                                  d.rcat

                                                                                           As of the date you file, the claim is: Check all that apply

           City                                               State       LiP Code
                                                                                            U   Contingent
                                                                                            U   Unhquidated
           Who incurred the debt? Chock one.
           U      Debtor 1 only
                                                                                            U   Disputed
           U      Debtor 2 only                                                            Type of PRIORITY unsecured claim:
           U      Debtor 1 and Debtot 2 only
                                                                                            U   Domestic support ohigations
           U      At ieast one of the debtors and another
                                                                                            U   Taxes arid certain otrrm            OMi.tis you      owe   the   government
                  Chock if this otaim is for a community debt
                                                                                                           Jr   i. •,     Jr,     ..r 'i   irl;.ty   wriSt   t011   VJrttLr

           I.. tt ttr ,1U1it           it bje   c to
           LJNo                                                                             Li Other. Specify
           U      Yes

                                                                                           Last 4 digits of account number
           Priority Creddors ttarsre                                                                                                                                          s                                  s____________
                                                                                           When was the debt incurred?
                                 Street
                                                                                           As of the date you file, the claim is: Check all that appiy
                                                                                           U    Contingent
           cry                                                State       zip Cod          U    Urihquidated
           Who incurred the debt? Check one.                                               U    Disputed
           U      Debtor I only
           U      Debtor 2 only                                                            Type of PRIORITY unsecured claim:

           Li     Debtor   I   end DeiSi           2   only
                                                                                           U    Domestic support ob5oations

           U      At COSt otto . hr              aoottt       oh orroth
                                                                                           Li   Tnxittu arid r ri 'an C Set ciebte you owe lhe )cvtarniarFt-t

           U                                                                               J                                               e.   t n_,i
                  Check if this claim is for a community debt
                                                                                                tntox coated
           Is the claim subject to offset?                                                 Li   Other. Specify _____________
           Us0
           U Yes


     Official Form lOBE/F                                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                                       page 1 of 4
Filed 05/29/19                                                                           Case 19-12257                                                                                       Doc 1
      Debtor 1             Beverly                               Perryman
                                                                                                                     Case number
                          First Neere    Middle Nasa            LaO Nasa



                         List All of Your NONPR1ORTY Unsecured C'aims

           Do any creditors have nonpriority unsecured claims against you?
           LI     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                 Yes


         List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim If a creditor has more than one
         noririority unsecured clain, list the credltoseparately for each claim. For each claim listed, identify what type of claim it is Do not list claims already
         includd in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 311 you have more than three nonpriority unsecured
         clarms.fil! o0tthe Continuation Page ofPart 2.                                                                     .
                                                                                                                                               I

                                                                                                                                                                               TotI cOurt

     LLJ         Wells Fargo Dealer Services
                                                                                              Last 4 digits of account number                  0
            Nonpriority Creddors Name
                  P0 Box 1697                                                                 When was the debt incurred?                 11/2013
            Ntrrrrirer     Street
               Winterville                                    NC                 28590
            city                                             State         ZIP Cods           As of the date you file, the claim is: Check all that apply.

                                                                                                   Contingent
            Who incurred the debt? Check one
                                                                                              U    Unliquidated
            LXI    Debtor 1 only                                                              U    Disputed
            U      Debtor 2 only
            U      Debtor 1 and Debtor 2 only                                                 Type of NONPRIORITY unsecured claim:
            U      At least one of the debtors and another
                                                                                              U    Student loans
            U      Check if this claim is for a community debt                                Li   Obligations arising out of a separation agreement or divorce
                                                                                                   that you did not report as priority claims
            Is the claim subject to offset?                                                   U    L)rtltS to pension or protit.sh:rrirrq plans, and other similar debts
                   No                                                                              Oilier. Spcity        2007 l'u otti Seqtioia-Repo
            U      Yes


    LtJ       Merrick Bank
            Norrpnonty Creditors Norma
                                                                                              Last 4 digits of account number3O 65                                                1,503.00
                                                                                              When was the debt incurred?                  339J_
              P0 Box 9201
            Nunrber    Street
              Old Bethpage                                    NY                 11804        As of the date you file, the claim is: Check all that apply.
            Cty                                              Slate         ZIP   Code         vi
                                                                                              si Contingent
            Who incurred the debt? Check one.                                                 U    Unliquidaled
            L1 Debtor 1 Only                                                                  Li Disputed
            U l)cac2rrnIy
            U      Debtor 1 and Debtor 2 only                                                 Type of NONPRIORITY unsecured claim:
            U      At least one of the debtors and another                                    U    Student loans

            U                                                                                 U    Obligations arising out of a separation agreement or divorce
                   Check if this claim is for a community debt
                                                                                                   that you did not report as priority claims
            Is the claim subject to offset?                                                        Debts to pension or profit-sharing plans, and other similar debts
                   No                                                                              Dther. SpecifyCredit Collection
            U      Yes


              Capital One Bank                                                                Last 4 digits of account number             0 9       7     4                       1,487.00
            Nonpriority Creditors Name                                                                                                                                     $
                                                                                              When was the debt incurred?                  0/20 3
              P0 Box3028
            Number    Street
               Salt Lake Cdv                                  UT              84130
            Crty                                             Crate         zih72ncr           As of the date you file, the claim is: Check all that apply

                                                                                                   Contingent
            Who incurred the debt? Check one.
                   Debtor 1 only
                                                                                              U    Unlnquidatect

            U      Debtor 2 only
                                                                                              U    Disputed

            U      Debtor I and Debtor 2 only
                                                                                              Typo of NONPRIORITY unsecured claim:
            U      At least one of the debtors and another
                                                                                              U    Student loans
            U      Check if this claim is for a community debt                                U    Obligations arising out of a separation agreement or divorce
            Is the claim subject to offset?                                                        that you did not report as priority claims

                   No
                                                                                              U    Debts to pension or profit-slterng plrinssind other siirrilar debts
                                                                                                   Ottler, Specify    Credit Collection
            U      Yes




       Official Form lOSE/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                 page 2 of 8
Filed 05/29/19                                                                                   Case 19-12257                                                                                     Doc 1
      Debtor 1             Beverly                                           Perrymait
                          First   Name
                                                                                                                                Case number tII
                                                     Miitdte Name        Last Name




                         Your NONPRIORITY Unsecured Claims - Continuation Page


      After listing any entries                     on   this page, number them beginning with 4.5, followed by 4.6, and              so   forth.                                  Tota Pc IS mm

     -




                  Capital One Batik                                                                    Last 4 digits of account number                 4       3    5 3
                                                                                                                                                                                    4,072.39
            Nonprority Cred tot's Name
                  P0 Box 30281                                                                         When was the debt incurred?                      12/20 2
            Number                Street
                  Sail Lake City                                       UT                84130         As of the date you file, the claim is: Check all that apply
            City                                                      S:ume          Ci Cede                Contingent
                                                                                                       U    Unliquidatod
            Who incurred the debt? Check one.
                                                                                                       U    Disputed
                   Debtor 1 only
            U      Debtor 2 only                                                                       Type of NONPRIORITY                 unsecured       claim:
            U      Debtor 1 and Debtor 2 only
                                                                                                       'U   Student loans
            U      At least one of the debtors and another
                                                                                                       U    Obligations arising out of a separation arireement or divorce that
            U      Chock if this claim is for a community debt                                              you did not report as priority damns
                                                                                                       U    Debts to pension or profit sharing plons, and other similar debts
            Is the claim subject to offset?
                                                                                                       CJ Other specii y           CrtC0Htb0n1
            19 No
            Li ''s


                 SYNCB/Care Credit                                                                     Last 4 digits of account number                 3      0     6 5             477.71
            Ncmmprmr ty Cred tm's          rimrry
                 P0 Box 965036                                                                         When was the debt incurred?                     11/2013
           Namber                 Street
                 Orlando                                               FL                32896         As of the date you file, the claim is: Ctreck all that apply.
           City                                                       State          ZIP Code               Contingent
                                                                                                       U    unliquidated
           Who incurred the debt? Check one.
                                                                                                       U    Disptrted
           NN      Debtor 1 only
           U       Debtor 2 only                                                                       Type   of NONPRIORITY               unsecured       claIm:
           U       Debtor 1 and Debtor 2 Only
           U                                                                                           U    Strident loans
                   At least one of tIre debtors and artoti'er
                                                                                                       U    Obliguitions arising out of a separattori agraementt or divorce that
           U       Check if this claim is for a community debt                                              you did not report as priortly cairns
                                                                                                       U    Dahtn to pension or protit-tthur rtg plans, and oltrer similar debls
           Is the claim subject to offset?                                                                  Other. Specfy0tC000
                   No
           U       Yes



                                                                                                                                                                                    107.26
             Creditors Brtreart                                                                        Last 4 digits of account number              4         8     3   5
           Ncmnprionly Creditors Name

                 P0 Box 942                                                                            When was the debt incurred?                  09/2018
           Number                 Street
                 Fresco                                                                                As of the date you file, the claim is: Check all that apply.
                                                                       CA                93714
           City                                                       Srte           ZiP Couy          L3   Contingent
                                                                                                       U    Unliquidated
           Who incurred the debt? Check one.
                                                                                                       U    Dmsptrted
                   Debtor 1 only
           U       Debtor 2 only                                                                       Type   of NONPRIORITY               unsecured       claim:
           U       Debtor 1 and Debtor 2 only
           U       At least one 0C the debtors and another
                                                                                                       U    Student loans
                                                                                                       LI  Ohlrcititions arising Out of a seisoratior agreement or divorce that
           U       Check if this claim is for a community debt                                         - you did not report as priority claims
                                                                                                       LI Debts to penttmoti on imrctf tsbr 'mmml tdans. and nther similar debts
           Is the claim subject to offset?                                                                                         RF:_AUctgsinoitrilc
                                                                                                       L.   Oilier. Spr..crty
           11      No
           UYes




       Official    Form lOSE/F                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                        page 3 of 8
Filed 05/29/19                                                                      Case 19-12257                                                                                            Doc 1
      Debtor 1             Beverly                              Perryman
                          HrsiNm,ie       Middie Nirn,e                                 -                               Case number   fif
                                                               E2O


                         Your NONPRIORITY Unsecured ClaIms - Continuation Page


      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.
                                                                                                                                                                              I '.   lirti



              Creditors Bureau                                                                  Last 4 digits of account number             8    9     8    7
                                                                                                                                                                               208.27
            Noripriority Creditors Name
                  PU Box 942                                                                    When was the debt incurred?                  10/2016
           Number             Street
                 Fresno                                      CA             93714               As of the date you file, the claim is: Check all that apply,
           Cily                                             S:ule      ZlP   Code               L?    Continr:ent
                                                                                                      U niiqturtaieri
           Who incurred the debt? Chack one.
                                                                                                U     Dispitect
           LN      Debtor 1 only
           U       Debtor 2 Only
                                                                                                Type of NONPRIORITY unsecured ClaIm:
           U       Debtor 1 and Debtor 2 only
           U                                                                                    Li    Student loans
                  At least one of the debtors and another
                                                                                                U    Obligations arising out of a separation agreement or divorce that
           U      Check if this claim is for a community debt                                        you did not report as prioiity claims
                                                                                                U     Debts to pertsiorr or profit sharing plans, and other similar debts
           Is the claim subject to offset?                                                                              RUH-tesno        mgical I tospilal
                                                                                                     Other.  g poi;1 r0                                         -
                   No
           Li     Ye',




                 Diversified Consultants                                                        Last 4 digits of account number             2   6      6   8                  652.37
           Nanpriorily Creditors Nanre
                PU Box 551268                                                               When was the debt incurred?                     11/2013
           Number       Sii'et
             Jacksonville                                    FL            32255            As of the date you file, the claim is: Check all that apply.
           City                                             Sslo      ZIP    Code                    Contingent

           Who incurred the debt? Check one
                                                                                            U        tinliquidatect
                                                                                            U        Disputed
           tl Debtor 1 only
           Li     Debto' 2 only
                                                                                            Type of NONPRIORITY unsecured claim:
           U      Debtor 1 and Debtor 2 only
           U      At least one of the debtors and another
                                                                                            U        Student loans
                                                                                            U        Obligations arising out Of a separation agreement or divorce that
           U      Check if this claim is for a community debt                                        you rJ.cl riot rar.ort as priority cleints
                                                                                            LI Debts to pension o- profit-shariirg plyiris arid other sunder debts
           Is the claim subject to offset?                                                  LN Other Specify RE - Comcast Cubic
                  No
           U      Yes



                                                                                                                                                                            S 4,614.72
             Sparrowhawk Solar I, LLC                                                       Last 4 digits of account number                 6 6 0 4
           Nonpriority Creditors Name
             PU Box 3500                                                                    When was the debt incurred?                     02/2019
           Number     Street
             Draper                                         UT                              As of the date you file, the claim is: Chtucs all that apply.
                                                                           84020
          City                                              Se        ZIP cocie
                                                                                                     Contingent

          Who incurred the debt? Check one.
                                                                                            U        Unliquidated
                                                                                            U        Disputed
                  Debtor 1 only
          LI      Debtor 2 only                                                             Type of NONPRIORITY unsecured Claim:
          U       Debtor 1 and Debtor 2 only
          U       At least one of the debtors and another
                                                                                            U        Student loans
                                                                                            U Obligations easing out of a separation agreement or divorce that
          U       Check if this claim is for a community debt                                 you did not report as priority claims
                                                                                            U Debts to pension or profit- sh;i ci ig plans, and other similar debts
          Is the claim subject to offset?
                                                                                            L        Other. speci'y Credit Coilec .....
                 No




      Offtciai Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                            page4 of 8
Filed 05/29/19                                                                              Case 19-12257                                                                                      Doc 1
      Debtor 1             Beverly                                Perryman
                         First Name                                                                                      Case number ar
                                         Midrite Name            Lust Narrie


                        Your NONPRIORITY Unsecured Claims Continuation Page



      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so fo?th.                                                                       13   I cl



              Saint Agnes Med CIr                                                                  Last 4 digits of account number               6   3      8 4
                                                                                                                                                                                  20,366.84
            Nonpriority Creditors Name
                 P0 Box 60000, File #72185                                                        When was the debt incurred?                    04/20 l2
            Number          Street
                 San Francisco                                 CA                   94160         As of the date you tile, the claim is: Check all that apply.
           City                                              Slate           ZIP Cede             ON Contingent
                                                                                                  Li    Unliquiduted
           Who incurred the debt? Check one
                                                                                                  Li Disputed
                   Debtor 1 only
           Li      Dridlor 2 only                                                                 Type of NONPRIORITY unsecured claim,
           U       Debtor I and Debtor 2 only
                                                                                                  Li   Student loans
           IJ At least one of the debtors and another
                                                                                                  U    Obligations arising cut of ii Separation agreement or divorce that
           U Check if this claim is for a community debt                                               you did not leper t as priority claims
                                                                                                  Li   Debts to pension or profit-sharing plans. and other similar debts
           Is the claim subject to offset?                                                             Other, Opacity Medical Collection
                  No
           Li     Yea




                                                                                                                                                 2   5
             Diversified Consultants                                                              Last 4 digits of account number                           _L                    176.64
           Nonprioriry Creditors Narire
                 P0 Box 55 268                                                                    When was the debt iticurred?                   01/2017
                                                                          .......



                 Jacksonville                                  FL                   32255         As of the date you file, the claim is: Check all that apply.
           City                                              mats          ZIP Code                    Conti ngerrt
                                                                                                  U    Unliquidated
           Who incurred the debt? Check one.
                                                                                                  U    Disputed
                  Debtor 1 only
           Li     Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
           U      Debtor 1 and Debtor 2 only
           U                                                                                      U    Stident loans
                  At least one of the debtors and another
                                                                                                  Cl   Obliqetroris ansung out of a uoparationi vqreei nent or divorce that
           Li     Check if this claim is for a community debt                                          you did not report as priority Claims
                                                                                                  U    Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                                       Other. Specify RE: Votrage
           0No
           Li Yes


                                                                                                                                                                                  0326
             Verizon Wireless                                                                     Last 4 digits of account number                7   8      0    5
           Nonpriority Crertilors Name
             11 0 Box 660108                                                                      When was the debt incurred?                    11/2013
           Number       Street
                Dallas                                        TX                    75266         As of the date you tile, the claim is: Check all that apply.
           Cd,                                               Sorts        ZIP       Code          33 Contingent
                                                                                                  U Unliquidated
           Who incurred the debt? Check one.
                                                                                                  LI   Dispittont
           L)     Debtor 1 only
           Li     Debtor 2 only                                                                   Type 01 NONPRIORITY unsecured claim.
           0      Debto' 1 and Debtor 2 Only
           Li                                                                                     U    Stucerit loar'a
                  At least one of the debtors arid another
                                                                                                  U    Obligations arising out of a separation agreement or divorce that
           Li     Check if this claim is for a community debt                                          you did not report as priority olainra
                                                                                                  LI   Debts to pensiort ni profit 'shriririg plains. and other similar debts
           Is the claim subject to offset?
                                                                                                       Oilier. Specify_                eCli0fl
                  No
           Li     Yes




      OffIcial 1-orm 106E/F                                      Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                                page 5 of 8
Filed 05/29/19                                                                                Case 19-12257                                                                                         Doc 1
      Debtor   I
                                Beverly                                    Pcrryman
                                                                                                                             Crrsn number'



                          Your                                                                            Page


      After listing any entries                  on   this page, number them beginning with 4.5, followed              4.6,
                                                                                                                  by          and so   forth.                                         Total claim




                   Kings Credit Services                                                              Last 4 digits of account number           6      2   0    0
                                                                                                                                                                                       373.56
           Nonprioriry Credrtors Name                                                                                                                                             $

                   P0 Box       950                                                                   When was the debt incurred?               02/2017
           Numb
                   Hanford                                          CA                93232           As of the date you file, the claim is: Check all that apply,
           City                                                    Stale          ZIP Cc e            12iConbngeni
                                                                                                      U     Unliquidaled
           Who incurred the debt? Check one.
                                                                                                      U     Disputed
           LN       Debtor I only
           U        Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim.
           U        Debtor 1 and Debtor 2 only
           U                                                                                          U    Student loans
                    At least one of the debtors and another
                                                                                                      U    OUgatcofis arising out of a separation agreement or divorce that
           U        Check if this claim is for a community debt                                            you did not report rn priority claims
                                                                                                      U    Debts to pension or pro'it-.sharing plans, and other similar debts
           Is the claim subject to offset?                                                                                  RE: Regional Emer Med Grp
                                                                                                           Other Speci r y
                    No




                                                                                                                                                                              '
     4.1
                   All Pro Bail Bonds                                                                 Last 4 digits of account number           12         9    2         "
           Nonpriority Credityrs
                   P0 Box       131658                                                                When was the debt incurred?               2018
           Nu.nr
                   Cai Isbad                                        CA                92013           As   of the date you file, the claim is: Check all that apply.
           City                                                    State
                                                                                                           Contingent
                                                                                                           U.11!qri:oaied
           Who incurred               the debt? Check one.
                                                                                                      U    Disputed
                    Debtor 1 only
           U        Debtor 2 only                                                                     Type of NONPRIORITY unsecured cial:
           U        Debtor 1 nod Debtor 2 only
           U                                                                                          U    Siudent loans
                    At least one of the debtors and another
                                                                                                      U    Obligations nrisir.g out oi a separatior agreement or divorce that
           U        Check if this claim is for a community debt                                            you did riot report as pi iority claims
                                                                                                      U    Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                                                 RE: Aaron Perryman
                                                                                                           Othe   Speci,y
                    No
           Dyes




                                                                                                      Last 4 digits of account number -                    -   -
           Noip          s'y   Cec   tC Sr

                                             ,                                                        When was the debt incurred?
           Number
                                                                                                  -   As of the date you file, the claim is: Check all that app      y.
                                                                                                      U    Corrtirrcent
                                                                                                      U    Unliquidared
           Who incurred the debt? Clreols one.
                                                                                                      U    Disputed
           U        Debtor 1 only
           U        Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim'
           U        Deotor 1 and Debtor 2 only
           U       At I. set a'.-'
                                                                                                      U    Student loans
                                       tI'a "stitas arid another
                                                                                                      U    Obligahons arising out or a sepdration agreement or divorce that
           U       Check if this claim is for a community debt                                             you did not repoit as priority claims
                                                                                                      U    Debts to pr'nsioi a profit sharing plans, arid other similar debts
           Is the claim subject to offset?
                                                                                                      U    Oltrer. Specify
           UNO
           Dyes                                                                               .                        .




       Official Form 106E/F                                            Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                                  pageÔof           S
Filed 05/29/19                                                               Case 19-12257                                                                Doc 1
      Debtor 1         Beverly                             Perryman
                      Hr t N r,e    Mddie ne
                                                                                                     Case number
                                                             Naroe



                     Add the Amounts for Each Type of Unsecured Claim



      6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only, 28 U.S.C. § 159
         Add the amounts for each type of unsecured claim.




                                                                                               Total claim


                       6a. Domestic support obligations                               6a                      000
      Total claims

      from Part I 6b. Taxes and certain other debts you owe the
                       government
                                                                                                             0.00

                       6c. Claims for death or personal injury while you were
                           intoxicated
                                                                                               IS
                                                                                                              000

                       6d. Other. Add all other priority unsecured claims.
                           Write that amount here                                     6d                      0.00




                 =     6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                              0.00




                                                                                               Total claim

                  61. Student loans
     Total clirns                                                                                             0.00
     from. Part 2
                  6g. Obligations arising out of a separation agreement
                      or divorce that you did not report as priority
                      claims                                                                                  0 00
                                                                                     6g        S
                       6h, Debts to pension or profit-sharing plans, and other
                           similar debts                                                                      000
                                                                                     6h.

                       6i. Other. Add ail other nonpriority unsecured claims
                                                                                                              40,497 02
                           iA/rte that rnc,Jnt here                                  Si    +

                       6j Total Add Ii ies 61 through 6i                             Gj                       110z197.02
                                                                                                                           1




      Official Form 106E/F                                 Schedule ElF: Creditors Who Have Unsecured Claims                                    page 8 of 8
Filed 05/29/19                                                                                                 Case 19-12257                                                                                         Doc 1



       Debtor                  Beverly                                                                           Perrymima
                              Hrm Name                                Middle Name                               Last Name
       flmhtmr 0
                    fitingi   First Name                              Media Nasa                                Last Name


       United States Bankruptcy Caud tar tue'                        Eastern                                                    CA
                                                                                                               District
                                                                                                                                (Slots)
       Case number
       (If known)
                                                                                                                                                                                          U    Check if this is an
                                                                                                                                                                                               amended filing


     Officia' Form 106G
     Schedule G: Executory Contracts and Unexpfted Leases                                                                                                                                                  12115
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
     additional pages, write your name and case number (if known).


           Do you have any executory contracts or unexpired leases?
                         C'e,;k        SItS            )'Ct          i..                  curt '.iS our other schedules. You have nothing else to report on this form.
           *                  ... .t         01 10, Ci        .t't                                                  or
                                                                           0iCVa   eve dOrm rt010Oi6                      iCOSMS     are listed on ScItedueA/d. Properly (Official Form 106N8).

           List separately each person or company
                                                     with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more exampies of executory contracts and
           unexpired leases.




           Person or company with whom you have the contract or lease                                                                           State what the contract or lease is for

      21

           Name


           Number                 Street


           Cry                                                dtre            715 Carte


     2.2
           Name


           Number                Street


     [City                                                State               ZlPCocte
                                                                                                                                                        ,
     23

           Name


           Nunrber               Street


           City                                , , .      Slate               ZlPCode
     2.4

           Nariie                                                                           ................




           Number                Street


           City                          ,                Stole               ZIP Code                         ,,           .             .                               .           ...     ...



           Name


           Number                Street


           City                                           State               LIP Code


     Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                                                                          page 1 of
Filed 05/29/19                                                                               Case 19-12257                                                                                     Doc 1

                                                                rnrs


       Debtor 1                                                                               Perryniari
                                FsriiN,ee                      f,i:iidiit Sties


       Debtor 2
       (Spouse, iffiling)       FesiNusie                      Middle Naive                   Levi Seine

                                                            Eastern
       United States Bankruptcy Court for                                                     District of CA
                                                                                                           (Stale)
       Case number
        (if knowri(
                                                                                                                                                                     U   Check if this is an
                                                                                                                                                                         amended filing
     Officia' Form 106H
      cdte   ...
                     tour Codebtors                                                                                                                                                   12/15
     Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
     are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
     and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
     case number (if known). Answer every question.


            Do you have any codebtors? (If you are fWna a joint case, do not list either spouse as a codebtor.)
            LiNe
                  Yes

            Within the last 8 years, have you lived in a community property state or territory? (Co)munity proper3y states and territories include
            Arizona California, idaho, Louisiana. Nevaoa New Mexico Puerto Rico, Texas. Washington, and Wisconsrn
            L      N.    Go mu Hria 3.
                  Yes Did your spouse, former spouse, or legal equivalent live with you at the time?


                   U Yes. In which community state or terrrtory did you live?                                               Fill in the name and current address of that person.



                                  of your spousa, former spouse or legS equivalent



                         Nurlbe'             Street



                         Lily                                                 stite                          zip Code

       3, In Column 1. list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
           shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
           ScheduleD (Official Form 1060), Schedule ElF (Officipl Form 106EIF), or Schedule G (Official Form 106G). Use
                                                                                                                             ScheduleD,
           Schedule ElF, or Schedule G to fill out Column 2.

                Column 1: Your codobtor
                                                                      .                                                            Column 2: The creditor to whom you owe the debt

                                                                                                                                   Check all schedules that apply:
      3.1        Aaron Perrynian
                Name                                                                                                                U Schedule 0, line
                 804 S Parallel Ave                                                                                                  J Schedule E/F, line 4.14
                Number              Street
                                                                                                                                    U Schedule G. line
                 Fresno                                                           CA                           93721



                                                                                                                                    U Schedrtle D. line
                                                                                                                                    Li Schedule E/F, line
                NOISe               SCent
                                                                                                                                    U Schedule G, line

                       .........             ..                           .                                      PCoarr


                                                                                                                                   Li Schedule 0, line
                                                                                                                                   Li Schedule ElF, line
                Number              Street
                                                                                                                                    Li Schedule G, line
                city                                     •..                      Stare                        Zi F Crete



     Official Form 10611                                                                  Schedule H: Your Codebtors                                                      page 1 of
Filed 05/29/19                                                         Case 19-12257                                                                                                   Doc 1




       Debtor i               Beverly                    -             Perrvntan

       Debtor 2
       (Spouse, if filing)    ursi Nwnn           l,d5e Sawn


       United States Bankruptcy Court for the: Eastern                 District of CA
                                                                                           (State)
       Case number
        (if known)                                                                                                       Check if this is:
                                                                                                                         U    An amended filing
                                                                                                                         U    A supplement showing postpetition chapter 13
                                                                                                                              income as of the following date:
     Official Form 1 061
     Schedu'e k Your Income                                                                                                                                                   12/15
     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                             Describe


         Fill in your employment
         information,                                                       Debtor I                                                         Debtor 2 or non-filing spouse
                        101(100 OS job,
                a separate page with
          5110011
         information about additional         Employment status               Employed                                                       U    Employed
         em:piovem                                                        U   Net employed                                                   U    Not employed
         Include part-bme, seasonal or
         self-employed work,
                                                                        Childcttre
                                              Occupation                                                  . ----- ----- . ..................................________________
         Occupation may include stucent
         or homemaker, if it applies.
                                                                        Clovis Hills Corn Church
                                              Employer's name


                                              Employer's address        10590 N Willow
                                                                         Number Street                                                     Number     Stroe)




                                                                       Clovis                    CA                93619
                                                                       -' C4y                     State            ZIP Code                City                   State ZIP Code

                                              How long employed there?          I ye.rtr



                              vtaiIsAboutMonthtytncome

         Estimate monthly income as of the date you file this form, if you have nothing to repoi'l for any                    ui15,   write SC) in the space Irtclude your non-fume
                                                                                                                                                                                  il
         spouse untest' you we separaiea.
         If you or your non-futng spouse have more than one omplcyor, combine the informatIon for all employers for that person on the lines
         below. If you need more space, attach a separate shed to Ibis form.

                                                                                                                   For Debtor I            For Debtor 2 or
                                                                                                                                           non-filing spouse
          List monthly gross wages, saIa, and commissions (before all payroll
          deductions). If not paid montfiy, calculate what tee monthly wage would be                 2             404.50

          Estimate and list monthly overtime pay.                                                    3 + $                                + $


          Calculate gross income. Add line 2 + line 3.                                               4.       q,   4O4.50




     Official Form 1061                                            Schedule I: Your Income                                                                               page 1
Filed 05/29/19                                                                                      Case 19-12257                                                                                  Doc 1

     Debtor 1         Beverly                                           Perryman
                                                                                ............           _.. .       .                Case rue bet jr



                                                                                                                                For Debtor 1              For Debtor 2 or
                                                                                                                                                          non-filinci spouse
         Copy line 4 here ............. ................... ................. .........                                 4.      $
                                                                                                                                     404.50                   ,.- 0.00


      5. List all payroll cteductions:

                Tax, Medicare. and Social Security deductions                                                           Sn      $_3094                        5;
                Mandatory contributions for retirement plans                                                            Sb.     $                             $
                Voluntary contributions for retirement plans                                                            5c      $                             S
                Required repayments of retirement fund loans                                                            Sd
          5e Insurance
                                                                                                                        5e $_____________                     $
          51 Domestic support obligations                                                                               51.     $_______                      $
          5g. Union dues                                                                                                5g. $____________                     $
          51h. Other deductions. Specify'                                                                               5h +                              +

      6. Add the payroll deductions. Add Unes 5a Sb 4 Sc + 5d + Se i Sf i 5g i 5h                                        6.     $ 30.94                       $ 0.00


      7. Calculate total monthly take-home pay. Subtract line 6 from tine 4                                              7           373.56                   $ 0.00


      8. List all other income regularly received:
          8a. Net income from rental property and from operating a business,
              profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business exoenses, and the total
                monthly net income.                                                                                    Ba       $                             $
          Sb. Interest and dividends                                                                                    Sb      $                             6
                Family support payments that you, a non-filing spouse, or a dependent
                regularly receive
                Include alimony spousal support, child support, maintenance, divorce
                settlement, and property settlement.                                                                            S                             $
                                                                                                                        8c
                Unemployment compensation                                                                               8d.     $                             $
          Be. Social Security                                                                                           Be.           .479.50
                                                                                                                                                              $
          8f. Other government assistance that you regularly receive
                Include cash assistance and the value (if known) of any non-cash assistance
                that you receive, such as food stamps (benefts under the Supplemental
                Njtdt'on Assistance Proq'arn) or housinj subsidies.
                Specify: _______________                                                   81.                                  $                             $

                Pension or retirement income
                                                                                                                        89      $                             $______________
                Other monthly income. Specify                                                                           Bh. +                             +$___________

      9 Add all other income Add lines Sn 8o Sc Sd . Be.

        Calculate monthly income. Add ine 7 + line 9.
                                                                                               4   81 '8 - • SIt        9            iA79.
                                                                                                                                                          L        0.00
                                                                                                                                                                               7
                                                                                                                                      .853 06                                           1,853 06
        Add the entries in lne 101cr Debtor 1 arid DeDlor 2 or non-lung spouse.                                                                       +            ---"'-'
                                                                                                                        10
                                                                                                                                    --'--.-'--- I                  000              L
        State all other regular contributions to the expenses that you list in Schedule J.
        Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
        friends or relatives.

        Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in                                         Schedu/e J.
        Specify.
                                                                                                                                                                               11. + $____________
     12 Add the amount in the last column of line 10 to the amount in line 11. Ehe resuit is the combined monthly income.
        Write that amount on the Su,iim&iy of Your ASSC!S and LiaonIitic.s and Cei'tain Stat/slica/ Infoir etion, if it applies                                                         I 853 06
                                                                                                                                                                               12
                                                                                                                                                                                    Combined
                                                                                                                                                                                    monthly income
      13. Do you expect an increase or decrease within the year after you file this form?
         .No
                Yes. Explain:



      Official Form 1061                                                                       Schedule t: Your Income                                                                  page 2
Filed 05/29/19                                                                Case 19-12257                                                                                    Doc 1




       Debtor 1            Beverly                                             Perryman
                           First Name              Miudle Nu,ee      --      ''Dsi Ness                         Check if this is:
       Debtor 2                         _________________
       (Spouse if Sing)    F,, 'dee,e              M,udls 'dawn                                                 U   An amended filing

       United States Bankruptcy Court for the: Eastern
                                                                                                               -U   A sLipplement showing postpetition chapter 13
                                                                               District of CA
                                                                                          SlotH
                                                                                                    -               expenses as of the following date:
       Case number
       (If known)                                                                                                   MM / OD! YYYY




     Official Form 106J
     Schedule J: Your Expenses                                                                                                                                        12/15

     Be as complete and accurate as possible. If two marned people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
     (if known). Answer every question.

                          Describe Your Household

       Is this a joint case?

        XI     No. Go to line 2.
        U      Yes. Does Debtor 2 live in a separate household?

                    UNO
                    U Yes. Debtor 2 must file Oftcial Form 106J..2,       Expenses for Seporure Household of Debtor 2.

       Do you have dependents?
                                                 U   No
                                                                                             Dependent's retationship to               Dependent's       Does dependent live
       Do not list Debtor 1 and                  0   Yes. Fill out this inlormation for      Debtor I or Debtor 2                      age               with you?
       Debtor 2.                                     each dependent. ............. .........
       Do not state the dependents'                                                        Granddaughter                              10                 U    No
       names.                                                                                                                                             I   Yes

                                                                                                           '                                             UN0
                                                                                                                                                         U Yea
                                                                                                                                                              No
                                                                                                                                                              Yes

                                                                                                                                                         UNo
                                                                                                                                                         U Yes
                                                                                                                                                         UN0
                                                                                                                                                         Ues
    .3. Do your expenses include
                                         No
        expenses of people other than
        yourself and your dependents? ' Yes


                    Estimate Your Ongoing Monthly Expenses

     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
     applicable date.

     Include expenses paid for with noncash government assistance if you know the value of
     such assistance and have included it on Schedule 1: Your /ncome (Official Form 1061.)                                                  Your expenses

     4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                             1,15 00
         any rent for the ground or lot.                                                                                        a
         If not included in line 4:

                 Real estate taxes

                 Property, homeowner's or renter's insurance                                                                   4b.         $______________
         40.     Home malnlenance, repair, and upkeep expenses                                                                 4C.

         4d      Homeowner's assocation or condomin urn dues                                                                   4cr.

      Official Form 106J                                            Schedule J: Your Expenses                                                                      page 1
Filed 05/29/19                                                                          Case 19-12257                                                                 Doc 1

                             Beverly                              Perryman
         Debtor 1
                             Fast Name       M,drJie Name
                                                                                                               Case number v
                                                                  Last   Name




                                                                                                                                             Your expenses


                                         - . -
          5. Additional mortgage payments for your residence -
                                                           -.-,siir.h
                                                                  ,•, as                  horn-a tartta iota
                                                                                                                                   a.


          6.    Utilities:
    =           6a.   Electricity, heat, natural gas
                                                                                                                                   6e     $200 00
                6b.   Water, sewer, garbage collection                                                                                   $7200
                                                                                                                                6h.
                6c.   Telephone cell phone, Internet, satellite, and cable services                                             6 c.
                6d.   Other, Specify:
                                                                                                                                6d.
         7.     Food and housekeeping supplies
                                                                                                                                7        S     °00
         8.     Childcare and children's education costs
                                                                                                                                6
         9      Clothing laundry, and dry cleaning
                                                                                                                                9
        10.     Personal care products and services                                                                             10

        11.     Medical and dental expenses
                                                                                                                                11
        12     Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                             50.00
               Do not include car payments.

                Entertainment, clubs, recreation, newspapers, magazines, and books                                              13
        14.     Charitable contributions and religious donations                                                               14
        15,     Insurance.
                Do not include insurance deducted from your pay or included in lines 4 or 20.

                iSa. Life insurance

                lSb   Health insurance                                                                                                   $1770
                                                                                                                               lSh
                15c. Vehicle insurance                                                                                                       50.00

                150. Other insurance. Specify:
                                                                                                                               150       S

    16         Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
               Specify:                                                                                                                  S_______________________
                                                                                                                               16

    .17.       Installment or lease payments:

                      Car payments for Vehicle 1
                                                                                                                               17a.
                      Car payments for \/ahicle 2                                                                              1    'u
                      Other. Specify:                                                                                                    S_________________________
                                                            -_____________________________                                     17c.
               170, Other. Specify:
                                                                         --..-                                                 170       S____________________

    18         Your payments of alimony, maintenance and support that you did not report as deducted from
               your pay on line 5, Schedule I, Your Income (Official Form 1061),
                                                                                                                                   18

               Other payments you make to support others who do not live with you.

               Specify:


               Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

               20a. Mortgages on other property
                                                                                                                               20a.
               201b. Real estate taxes
                                                                                                                               206       $_______________________
               20c. Property, homeowner's, or renter's insurance
                                                                                                                               20c.      S_________________________
               200. Maintenance, repair, and upkeep expenses                                                                   20d
               20e, Homeowner's association or condominium dues                                                            -   20e



             Official Form 106J                                                  Schedule J: Your Expenses                                                   page 2
Filed 05/29/19                                                                   Case 19-12257                                                              Doc 1

      Debtor 1         Beverly                                Perryman
                        i-irst Name      Meecile Name
                                                                                                      Cese number iii
                                                              Last Name




          Other. Specify:
                                                                                                                          21.   +$


          Calculate your monthly expenses,

          22a. Add lines 4 throuah 21.
                                                                                                                        22a.     $t± .: ,?_____
          22h. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J2                           22h.     $_______________________
          22c Add line 22a and 221). The result is your monttiv expenses                                                             I .846.50
                                                                                                                        22c.




        Calculate your monthly not income.
                                                                                                                                     1,853.06
                   Copy line 12 (your combined monthly income) from Schedule 1.

                   Copy your monthly expenses from line 22c above,
                                                                                                                                __1,846.50

                   Subtract your monthly expenses from your monthly income.
                   The result ES your mont lily net income.
                                                                                                                        23                        -




     24. Do you expect an increase or decrease in your expenses within the year after you file this form?

         For example, do you expect to finish paying for your car loan within the year or do you expect your
        mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

             No.
                                                                   ,                      .......
        Li   Yes.      , Explain here:




      Official Form 1061                                                  Schedule J: Your Expenses                                                page 3
Filed 05/29/19                                                               Case 19-12257                                                                                    Doc 1




    Debtofi
                       me Name (               MIde me

    Del,tor2                                           -
    (Spousa f flung)   FtNma                   M1e Nm


    United StotSe Bankruptcy Court for thei Eastern District of California
    Case number
    of
                                                                                                                                                        Check if this is an
                                                                                                                                                        amended fiUn


      Official Form 106Dec
      Declaration About an Individual Debtor's Schedules                                                                                                          MIS


      if two married people are flung together, both are equally responsible for supplying correct Information.
      You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
      obtaining money or property by fraud in connectiOn with a bankruptcy c350 can result in finOs up to $260,000, or Imprisonment for up to 20
      years, or both. 18 U.S.C. §§ 152, 1341, 1510, and 3511.



                        Sign Below



           Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes. Name of person _Rebecca       Escarnill? dha: FastAon SvCs                 AttaOh BenkniptcyPetfdon Preparór's Notice,   Dec/atation, end
                                                                                                S!gnattae (Offidal Form 110).




           Under penalty of porju,y, I declare that I have road the summary and schedules filed with this declaration and
           that they sf0 true and COtY5Ct




                                                                      WJ
              Date                                                           Date______
                       MM! DO / 'fYYY                                            MM! 00   If   YYYY
                                                                                                                                         -    ---------
                                                                                                                     ----------.--




         Official Form 106Oec                                      Declaration About an Individual Debtors Schedules
Filed 05/29/19                                                                 Case 19-12257                                                                     Doc 1



       Debtor     1
                           Beverly                                            Perryman
                           First Sante               MktdS
       Debtor 2
       (Spouse if filing) First   Narrre             M,drlle Sante            Last Name

       United States Bankntptcy Court for the Eastern                         District of CA
                                                                                          (Stale)

      Case number                                                             CItapter
       (if known)




     Officia' Form 119
     Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                                   12/15

     Bankruptcy petition preparers as defined in 11 USC. § 110 must fill out this form every time they help prepare documents that are filed in the
    case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 2. A bankruptcy petition preparer who
    does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
    imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




                         Notice to Debtor




      Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
      filing or accept any compensation. A signed copy of this form must be filed with any document prepared.


             Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following


              s whether to file a petition Ltnder the Bankruptcy Code (11 U.S.C. § 101 et seq.):

            • whether filing a case under chapter 7, 11, 12, or 13 is appropriate,

            • whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;
            tia       whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;
            C
                      what tax consequences may arise because a case is filed under the Bankruptcy Code;
            C         whether any tax claims may be discharged:

                      whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

                      how to characterize the nature of your interests in property or your debts; or

            SI        what procedures and rights apply in a bankruptcy case.




              The bankruptcy petition preparer
                                                        Name
                                                                     7Uk   €SC.44?s.-,     I/k IéZ      Jtff     ACJO)        £S has notified me of

              any maximum allowable fee before preparing any document for filing or accepting any fee.




                                                                                                               Date
                                                                                                                      MM/DD   iri      -




                                                                                                               Date
              Signature of Debtor 2 acknowledging receipt of this notice                                              MM / DO / YYYY




    Official Form 119                                 Bankruptcy Petition Preparer's Notice Declaration, and Signature                          page 1
Filed 05/29/19                                                                    Case 19-12257                                                                            Doc 1



                                                                                                         Ceas manbrw.e.
Debtor I
                                4T                  urn

                                                                                                                                                                   -
  rTh             Declaration and $Ignatura .i e. Uank toy PutlUon PEOPOWN


  Under penalty of p.rjuly, I declare that
                                                                                                      bankruptcy petition preparer;
  • I am a bankruptcy petition preparer or the officer. principal, responsible person, or perth.r of.
                                                        and gave the debtor a copy of them and the NoWoe to Debtor by Bankmptcy PeUUon
  • i or my firm prepared the documente listed below
                                                                 342(b); and
      Plapereras required by 11 U.S.C. § 110(b) 1 110(h), and
                                                                            sating a medmum The for ssndcse that bankruptcy petition
  • If rules or gueIIne5 are established according to 11 U.S.C. § 110(h)
                                                                                       before preparing any document for filing or before
      Preparere may charge, I or my firm notified the debtor of the msdmum amount
       accepting any fee from the debtor.

      Rebecca Escamllla                         Owner/LDNUDA                           Fast Action Services
                                                   Tue. If any                         PPM naø*, If It applies
      Printed name
      7942 N. Maple Ave., SuIte 107
      Number                Shalt
                                                 CA. 93720                             (559) 456-9700
        Fresno                                                                         (cnta phone
                                                                  ZIP Code
      City

      I or my firm prepared the dacumente checked below and the completed declaration to trade a part of each document that I check:
      (Check all that
                                                                      scteduis l(Form 1061)                             J Chapter 11 Statement or Your LurTwnt Iv,unul.y
      FA veiurnary Petition (Form 101)                                                                                     Income (Form 122$)
      id        tatementAtcut Your Social Security Numbs's       10   Schedule J (Form 108J)
                                                                                                                       Ci Chapter 13 Statement of Your   Current Monthly
              (FOrm 121)                                         ja   DsS1ItiOfl About an Individual Debtor's               foams and CalculatIon of Commitment Period
        Jfi                                                           Schedules (Form 106000                               (Form 122C-1)
              Summary of Your Asasia and LISbUISeS and
              Certain SlatlutiI If.,.aUWI (Farm loesum)          id   St.twmsnt of Financial Aftoirs (Form 107)        Ci  Chapter 13 CalculatIon of Your Disposable
                                                                                                                           Income (Form 1220-2)
              sctreuie NB oem 10JB)                                   Sl.tsmant of lrrtantlon for Individuals Filing
              Sctieduie C (Form 106C)                                 Under Chapter? (Form 108)                        Ci Application to Pay Piling Fee In Installments
                                                                                                                           (Form I 03A)
                                                                 61   Chapter 7 Ststsment of Your Current
              ScheduleD (Form 1060)                                   Monthly Inosms (Form 122A.1)                     Ci Application to Have Chapter? FilIng Fee
        l Schedule ElF (Form IO6EIF)                                                                                          lved (Form 1038)
                                                                      St.it of ewmPtlon tam Presumption
              Schedule 0 (Form 10G)                                   of Abuse Undsr?O7(b)(2)                          If A lIst of names and addresses of all creditors
                                                                      (Form lVMSupp)                                        (a,dtcrorm.Ilg matst'c)
              Schedule H (Form laSH)                                  Chapter? Means Test Calculation                             Form 2800
                                                                      (Form I22A-2)


                                                                               numbers. If more than one bankruptcy petition preparer prepared the documents
        Bankruptcy petition preparers must sign and give their Social Secuilty
                                                                    Security number of eaCh preparer must be provIded. 11 U.S.C. § 110.
        to which this declaration applies, the dignatJre and Social



                                                                                                                   2               ed' MMI0'
           person, or partner            _

           Rebecca Escamilla
           Printed name

                                                                                                                                            Data-
            NIA                          ____                                                                                                 yiD0iYYYY
           Signatne of benleuptay       (l puPs" orolliost, plInit, rU59OT1IS
           person, or penner

           N/A
           Prirtedname

                                                                                                                                                              page 2
                                                          BankruptCy peon Preparer's Nàtic., c.àiaratlon, and Signature
   Offidsi Form 119
Filed 05/29/19                                                                        Case 19-12257                                                                                       Doc 1



              Debtor 1             Beveriy                                            Perryman
                                   Foe Nurse                  Mkid!e 5:0cc            cc'

              Debtor 2
              tSpouse. it fiteg) FSciNo",e                    audio Norm              .001   Nor,',,

              United States Bankruptcy Court for the:   Eastern
                                                                                 Oisir:ct of CA
                                                                                                  SImm
              Case number
               (It ksown)
                                                                                                                                                          Li   Check if this is an
                                                                                                                                                               amended filing




             Officiat Form 107
             Statemenl "- Thanca! Affrs for hidivEdua!s Fnq for !3ankruptcy                                                                                                        12/15
             Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
             information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
             number (if known). Answer every question.


                               Give Details About Your Marital Status and Where You Lived Before


                  What is your current marital status?


                   Li    Married
                         Not married


                  During the last 3 years, have you lived anywhere other than where you live now?

                         No
                   Li    Yes. Lst all of the places you lived :n the lest 3 veers, Do not include where you live now.

                            Debtor 1:                                          Dates Debtor I            Debtor 2:                                              Dates Debtor 2
                                                                               lived there                                                                      lived there


                                                                                                         U Same as Debtor          1                           Li   Same as Debtor 1

                                                                               From ________                                                                        From
                            Number             Street                                                         Number
                                                                               To                                                                                   To




                            City                        N'
                                                             ate zr     CoJ4                                  Cfty                     State ZIPC0'Je

                                                                                                         Li   Same   as   Debtor   1                           Li   Same as Debtor    1     -


                                                                               From                                                                                 From
         -                  NumberS :ieet                                                                     Nij:nL',er Stro:c                                                             -
         -                                                                     to                                                                                   1'O




                            City                        State Z(P Code                                        City                     State   ZIP Code


     1 3. Within the lastS years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community properly states
          and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                        No
     -             U    Yes. Make sute you fill out Schedule H: Your Codobtors (Officiai Form 106H)




                              Explain the Sources of Your Income

              Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Filed 05/29/19                                                                                Case 19-12257                                                                                                  Doc 1

     Debtor 1        Beverly                                            Perrymaii
                      First Name
                                                                                                                                        Case number 5 t
                                           Middle Cans                 i.SC Case




          Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          Fill in the total amount of income you received from all jobs and all businesses, including pail-time activities:
          If you are filing a joint case and you have income that you receive together, list it only once utlder Debtor 1.

          UNo
                Yes. Fill in the details.

                                                                               Debtor I                                                            Debtor 2

                                                                               Sources of income               Gross income                        Sources Of income               Gross income
                                                                                    's Of tiiotl,              &        0   .l,',ru.,! ens arid    (is's all bet , u -             (Leloic d1?-1uiron5 and
                                                                                                               exclusions)                                                         exclusions>

                 From January 1 of current year until
                                                                               L    Wages, commissions,                                            U    Wages, Commissions,
                                                                                    bonuses, tips                   .995.00
                 the date you filed for bankruptcy:                                                                 '                                   bonuses, tips
                                                                                    Operating a business                                           Li   Operating a business


                 For last calendar year:                                            Wages. commissions,                                            U    wages, commissions,
                                                                                    bonuses, lips              s   1,418.26                             bonuses, tips
                 (January ito December 31. 2018                                0    Operating a business                            .      -       Li   Operating a business
                                            v.yvv


                 For the calendar year before that:                            Li   Waes commissions,                                              U    Wages, commissions,
                                                                                    bonuses, lips                                                       bonuses, tips
                                                                                                               $                                                                   $___________________
                 (January 1 to December 31,              ___              )    U    Operating a business                                           U    Operating a business
                                                         Y YvY




          Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Sociai Security, unemployment,
          and other public benefit payments; pensions: rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a Joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                                               Debtor I                                                           ' Debtor 2

                                                                               Sources of income               Gross income from                    Sources of income              Gross income from
                                                                               Describe below,                 each source                          Describe below.                each source
                                                                                                               (hetore deductions and                                              (betore deduciions and
                                                                                                               exclusions)                                                         exclusions)


                                                                              SSA                                  7,397.50
                 From January 1 of current year until
                 the date you filed for bankruptcy:
                                                                                                                                                                               S

                                                                                                                                                                               S

                                                                              SSA                      17268.00
                 For last calendar year:                                                                                                                                       S
                 (January ito December 31,2018                     )                                       S__________________                                                 $
                                                         YYYY
                                                                                                                                                                               S



                 For the calendar year before that:                           SSA                                  16932.00
                                                                                                           s                                                                   S
                 (Janury 1         10   December 31.2017                                                   S_______________                                                    $
                                                         YYyy
                                                                                                           S                                                                   S




     Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                            page 2
Filed 05/29/19                                                                         Case 19-12257                                                                                    Doc 1


     Debtor 1     Beverly                                             Perryman
                                                                                             .                    Case number
                   First Nrrre           Midd'e Nrn,,o               LoSt Nairro




                  List Certain Payments You Made Before You Filed for Bankruptcy




       6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

          J No. Neither Debtor I nor Debtor 2 has primarily consumer debts.                         Consumer debts are defined in 11 U.S.C. § 101(8) as
                    incurred by an individual primarily for a personal, family, or household purpose."
                   During the 90 days before you filed for bankruptcy. did YOU pay any creditor a total of $6,225* or more?

                   D      No. Go to line 7

                          Yes. List below each creditor to whom you paid a total of 96,225* or more in one or more payments and the
                               total amount you paid that creditor. Do not include payments for domestic suppod obligations. such as
                               child support and alimony. Also, do not include payments to an atiorney for this bankruptcy case.
                     Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

           L3 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No. Go to line 7.

                          Yes List below each creditor to whom you pact a total of 9600 or more and the total amount you Paid that
                              creditor Do not inclucte payments fw domestic support obligations, such as child support and
                              alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                                      Dates of     Total amount paid           Amount you still owe        Was this paymentfor.:.
                                                                                      payment



                            Creditor's Namrre
                                                                                                                                                           U     Mortgage

                                                                                                                                                           DOer

                                         Street                                                                                                            U     Credit card

                                                                                                                                                           U     Loan repayment

                                                                                                                                                           U     Suppliers or vendors

                            ciry                         State             ZiP Code
                                                                                                                                                           U     Other




                                                                                                   $                       C                               c-i
                                                                                                                                                           t.J   Mortgage
                            creditors Name
                                                                                                                                                           Li    Cm

                            Nmrrrihrr'   Srtrrer                                                                                                           H Ccciii cyrd

                                                                                                                                                                         repayment

                                                                                                                                                           Li    Suppliers or vendors


                            City
                                                                                                                                                           U     Other
                                                         State              OP Code




                                                                                                   S                              -.-.       -----------   U     Mortgage
                            Creditor's Naoe
                                                                                                                                                           U     Car

                            Number       Street
                                                                                                                                                           Li    Credit card

                                                                                                                                                           U     Loan repayment

                                                                                                                                                           U     Suppliers or vendors


                            City
                                                                                                                                                           Li    Other
                                                         State             ZiP Code




      Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Filed 05/29/19                                                                     Case 19-12257                                                                               Doc 1

       Debtor 1             Beverly                                   Perryman
                                                                                                                      C@se number




         7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone Who was an insider?
             Insiders
                            include your relatives: any general partners; relatives of any general partners; partnerships of which you are a general partner;
            corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securtties and any managing
            ogent, including one for a business you operate as a sole propriotor. ii U.S.C. § 101. Include payments for domestic support obligations,
            such as child support and alimony,

                   No
            U      Yes. List all payments to an insider.

                                                                                   Dates of        Total amount          Amount you still. Reason for this payment
                                                                                   payment         paid                  owe


                     insiders Name                                                                s_._,__________
                                                                                                                                            ,

                     Number Streei




                     Liry
                                                      St -,re     ZIP ( oct




                    Insiders Name



                    Number Sireei




                   Ciiy                              Slate       ZiP Code
                                                                                                                                        I




       8 Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
          an insider?

          Include payments on debts guaranteed or cosigned by an insider.

                No
          U     Yes. List all payments that benefited an insider.

                                                                                 Dates of         Total amount          Amount you still Reason for this paynent
                                                                                 payment          paid                  OW
                                                                                                                                            lirclude creditors name

                  tflsijetsNa, r,
                                    p     -.--.---.-                                          $                     S


                  Number Street




                  Criy
                                                    Slate       ZIP Code




                                                                                              S                   S
                  insiders Name




                  Numot       Street




            . ....pity                             Slate        ZiP




    Official Form 107
                                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                                      page 4
Filed 05/29/19                                                                               Case 19-12257                                                                                        Doc 1

      Debtor 1        Beverly                                         Peri'yman
                               Name                                                                                            Case number i
                        irSt                  urine Name             LI, a




     r                Identify Legal Actions, Repossessions, and Foreclosures

           Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
           List all such matters, including personal injury cases, small claims actions, divorces, collection suits paternity actions, support or custody modifications,
           and contract disputes.

                 No
                 Yes. Fll rt the details.

                                                                              Nature of the case                          Court or agency                              Status of the case


                  Case titte
                                                                                                                        Cou1 NIlIC                                     U   Pending

                                                                                                                                                                       U   Onappeal
                                                                                                                        Number    Sireei                               U   Conciuded

                  Case number

                                                                                                                        Crty                   State   ZIP   Code




                  Case title
                                                                                                                        Couri Name                                    U    Penduig

                                                                                                                                                                      U    Onappeal

                                                                                                                        Number    Sbeet                               U    Conciuded

                  Case lumber
                                                                                                                        City                   Sraie   ZiP Code


           Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
           Check all that apply and fill in the details below,

                 No, Gotolinell,
           U     Yes. Fill in the information below.

                                                                                        Describe the property                                           Date        Value of the property




                       Creditors Name



                       Number Street                                                   Explain what happened.


                                                                                        U     Property was repossessed.
                                                                                        U     Property was foreclosed.
                                                                                        Li    Property was garnished.
                                                           Suite   ZiP Code             U     Pr'oPcsruj   WiS   ouacbet seized. or levied.

                                                                                       DLSCrItiC ti, piup ~ ri j                                        Date         Value of   the   propert'1




                      Crcrrtilcrr's Nrrrrcr



                      Number Street
                                                                                       Explain what happened


                                                                                       U     Property was repossessed.
                                                                                       U     Property was foreclosed.
                               __________________________                              U     Property was garnished.
                      Ciy                                  State ZiP Code
                                                                                       U     Property was attached, seized or levied.



     Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page    5
Filed 05/29/19                                                                           Case 19-12257                                                                           Doc 1

                      Beverly                                         Perryman
     Debtor 1
                       I've N,,,,                                                                                   Case number ot ann,,)_____________________________________
                                                                    Last None




          Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
          accounts or refuse to make a payment because you owed a debt?

                No
          Li    Yes Fifi in the details.


                                                                            Describe the action the creditor took                          Date action        Amount
                                                                                                                                           was taken
                Creditor's Name



                Numfte'    Siret




                Cdv                              Stste   ZIP Cone           Last 4 digits of account number: XXXX—_ -              -


          Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
          creditors, a court-appointed receiver, a custodian, or another official?

                No
          UYes


                          st Certa in C iffs and Contributns___


     • '3. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
          Li    Yes. Fill in the details for each gift.


                 Gifts with a totat vatue of more than $600                 Describe the gifts                                             Dates you gave         value
                 per person
                                                                                                                                           the gifts




                Person to Whom Yos Gave the Gift




                Nomon' Street



                Cdy                              State   ZIP Code

                Persons relationship to you


                Gtfts with a.total value of more than $600                 Describe the gifts                                              Dates yougave        Value
                per person
                                                                                                                                           the gifts



                Person to Whom You Gave the Gift                                                                                                                $____




                Nunnoer    Street




                Person's relationship to yoi.I


     Official Form 107                            -       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 6
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     Debtor 1          Beverly                                                 Ileriymun
                                                                                                                                Case number
                        riryNo               MCor4m,




       14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

                No
          U     Yes. Fffl in the details for each gift or conhributton.


                 Gifts or contributions to charities                               Describe what you contributed                                        Date you              Value
                 that total more than $600                                                                                                              contributed




                Charityu   Nuns



                                                                                                                                                                              S



                Number Street




                City            State           ZIP Codcr




                         List Certain Losses


          Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
          or gambling?

                No
          Li    Yes. Fill in the details.


                 Describe the property you lost and how                             Describe any insurance coverage ior the loss                        Date of your loss     Value of property
                 the loss occurred                                                                                                                                            lost
                                                                                   Include the amount that insurance has paid. List pending insurance
                                                                                   claims ott line 33 of Schedule A/B; ProperlY.




                        List Certain Payments or Transfers

          Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
          consulted about seeking bankruptcy or preparing a bankruptcy petition?
          Include any attorneys, bankruptcy petitiort prepareis, or credit counseling agencies for services required in your bankruptcy.

                No
          Li    Yes. Fill in the details.

                                                                                   Description and value of any property transferred                    Date payment or       Amount of payment
                                                                                                                                                        ii ,t,sfnr vue made
                 Parson    Who    Was Paid           -                     -


                 Number Street                                                                                                                                                S



                                                -                                                                                                                             S

                 City                              State            ZIP Code



                 Email   or   websita address

                 Person    Who    Made the Payrirerit.   it   Not   You



     Official Form 107                                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 7
Filed 05/29/19                                                                                               Case 19-12257                                                                                   Doc 1

                     Beverly                                                              Perrymun
     Debtor 1                                                                                                                               Case number yr
                        Fi,t Nun,e                         Midirie Sane              Leer   Nairre




                                                                                                 Description and value of any property transferred                 Date payment or    Amount of
                                                                                                                                                                   transfer was made payment


                 Person i/Vhs Was Paid



                 Number Sueet




                 City                                           State     ZIP Code




                 Email or website address


                 Psisrrr V/irs 'Vsrra the Psvrrrt. if Not You



           Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
           promised to help                      you deal with your creditors or to make payments to your creditors?
           Do not include any payment or transfer that you listed on line 16.


           UJ   No
           U    Yes. Fill in the details.

                                                                                                 Description and value of any property transferred                 Date payment or       Amount of payment
                                                                                                                                                                   transfer was made

                 Person V/s Was Paid
                                                                                                                                                                                         S             -



                        ............................        -,--           --         .                                                                            --.---.-


                 City                                  -         ./,        I Pd

           Within 2 years before you filed for bankruptcy, did you seU, trade, or otherwise transfer any property to anyone, other than property
           transferred in the ordinary course of your business or financial affairs?
           Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
           Do not include gifts and transfers that you have already listed on this statement.
                No
           U    Yes. Fill in the details.

                                                                                                 Description and value of property          Describe any property or payments received       Date transfer
                                                                                                 transferred                                or debts paid in exchange                        was made

                 Person i/Vhs Received Transie                             -


                 Number              Streot




                 City                                            State    ZIP Coda


                 Person's relationship to you


                                         itvcvivect Trans/ri



                  Number SVnt




                 City                                            State    ZIP Code

                  Persons relationship to you

      Official Form 107                                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 8
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                      Beverly                                    Perryman
     Debtor 1                                                                                                   Case number
                         em




          Within 10 years before you filed for bankruptcy, did you transfer any property to a selfsottlod trust or similar device of which you
           are a beneficiary? (These are often called asset-prolechon devices.)

                No
           U    Yes. Fill in the details.


                                                                     Description and value of the property transferred                                                Date transfer
                                                                                                                                                                      was made



                Name of trusf




                     List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

           Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
           closed, sold, moved, or transferred?
           Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
           brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

                No
           U    Yes. Fill in the details.

                                                                      Last 4 digits of account number      Typo of account or          Date account was           Last balance before
                                                                                                           instrument                  closed, sold, moved,       closing or transfer
                                                                                                                                       or transferred


                  Name of Financial Institution
                                                                      XXXX         -     -    -            U Checkrng
                  Number      Street
                                                                                                           U Savings
                                                                                                           U Money market
                                                                                                           U Brokerage
                  City                       State    zlPCoda                                              Uotier



                                                                      XXXX—                                U Checking
                  Name of Financial tnstitution
                                                                                                           U savings
                  Namber      Street                                                                       U Money market
                                                                                                           U Brokerage
                                                                                                           U Other
                  City                       State    ZIP Code


            Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
            SeCUritie            ., or c Jier valuables?
                 No
            L    Yes. Fill in the details.
                                                                      Who else had access to it?                         Describe the contents                             Do you still
                                                                                                                                                                  -        hav*il?

                                                                                                                                                                               No

                  Name of Financial Institution                      Name
                                                                                                                                                                           U   Yes



                  Number Street                                      Number Street


                                                                     City       State      ZtPCode
                  City                        State   ZiP Code                                                                                     -          -


      Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 9
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                       Beverly                                                     Perryman
     Debtor 1                                                                                                                                         Case number
                            ire   Narrre             urea   Nrrrre                Le Nn




      22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
                No
            U   Yes. Fill in the details.
                                                                                          Who else has or had access to it?                                Describe the contents                        Do you still
                                                                                                                                                                                                        have it?

                                                                                                                                                                                                            No
                  Name       01    Storage Facility                                       Name                                                                                                          U   Yes


                  Number Strest                                                           Number Street


                                                                                          City State   ZIP   Code

                  city                           -     - State       ZIP   Code


                              Identify Property You Hold or Control for Someone Else

                                         t   uutrlot anj plopuiiy tri              COIrICOliC     c'lae                           ery    propury you Um rOwOU         luflt,   ate storing for,
            or hold in trust for someone.
                 No
            U    Yes. Fill in the details.
                                                                                          Whore is the property?                                           Describe the property                    Value



                     Owners

                                                                                      Number Street
                     Nurrrber Street



                                                                                      City                                  State        ZIP   Code
                     City                                   SOle     ZIP   Crete                                                                                                    .   .

                                  Give Details About Environmental Information


       For the purpose of Part 10, the following definitions apply:
       S    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
            hazardous or toxic substances, wastes, or material into the air, latid, soil, surface water, groundwater, or other medium,
            including statutes or regulations controlling the cleanup of these substances, wastes, or material.

        s   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
            it or used to own, operate, or utilize it, including disposal sites.

        C   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
            substance, hazardous material, pollutant, contaminant, or similar term.

        Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


        24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


                  No
            U     Yes. Fill in the details.

                                                                                          Governmental unit                                     Environmental law, if you know it                 - Date of notice




                  Name       of   site                                                    Goverrirneurtat    unit



                  Number Street                                                           Number Street


                                                                                          City                      State   ZIP   Code


                  City                                      State    ZIP   Code



      Official Form 107                                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                         page 10
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                     Beverly                                      Perryman
     Debtor 1                                                                                                              Ces   number
                                                                   Ni,-




          Have you notified any governmental unit of any release of hazardous material?

                No
          U     Yes. Fill in the details.
                                                                     Governmental unit                                Environmental law, if you know it                           Date of notice



                 Name of site                                       Goverilmental unit

                 Number Street                                      Number Street



                                                                    City                 State     ZIP Code -

                 City                       State    ZIP Code


          Have you been a party in arty judicial or administrative proceeding under any environmental law? Include settlements and orders.

                NO
          U     Yes. Fill in the details.

                                                                      Court or agency                                      Nature of the case                                      Status of the
                                                                                                                                                                                   case
                Case title________________________
                                                                      Court Nanie                               --                                                                 U    Pending

                                                                                                                                                                                   U    On appeal
                                                                      NumberStreet                                                                                                 U    Concluded

                Case number                                                ------- ----________
                                                                      City                       State   ZIP   Code


                        Give Details About Your Business or Connections to Any Business

          Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                U    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                U    A member of a limited liability company (LLC) or limited liability partnership (LLP)
                U    A partner in a partnership
                U    An officer, director, or managing executive ole Corporation

                U    An owner of at least S'Yu of the voting or equity securities of a corporation

                No. None of the above applies. Go to Part 12.
          U     Yes. Check all that apply above and fill in the details below for each business.
                                                                      Describe the nature of the business                                     Employer Identification number

                 Business Name                                                                                                                Do not include Social Security number or ITIN.


                                                                                                                                              EIN:            -
                 Number Street
                                                                      Natne of accountant or bookkeeper                                       Dates business existed


                                                                                                                                              From                 To
                 City                       State    ZIP   Code
                                                                                                                                          -
                                                                      Describe the naturo of the business                                     Employer ldeittificstioi-t-number
                   --- --- ---Name   ------                                                                                                   Do not include Social Security number or ITIN.
                 Bus i n ess


                      ______                                                                                                                  EIN:            -
                 Number Street
                                                                      Name of accountant or bookkeeper                                        Dates business existed



                                                                                                                                              From                 To
                 City            -          State    ZIP   Code

     Offictal Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                            page 11
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                       Beverly                                   Perrvniai
     Debtor I                                                                           .......-                         Caso   riuflihOr .1
                           Fire Ni—                                         --------




                                                                                                                                               Employer Identification number
                                                                        Dem.ribe the n,ture of the business
                                                                                                                    ..                         Do not include Social Security number orlTlN
                    Business Name
                                                                                                                                               ON:           -

                    Number Street
                                                                        Name of accountant or bookkeeper                                       Dates business existed




                                                                                                                                               From               To
                    City                    State   ZIP Code




       28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
           institutions, creditors, or other parties.

                  No
           U     Yes. Fill in the details below.

                                                                        Date issued




                    Name                                                MM I CDI VYVY



                    Number Street




                    City                    State   ZIP Code




                            Sign Below


            I have read the answers on this Statement of Financial4ffairs and any attachments and I declare under penalty of perjury that the
            answers are true and correct. I understand that making a false statetrient, concealing property, or obtaining money or property by fraud
            in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                                                                            Signature of Debtor 2


                    Date                                                                    Date              -

                Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

                     No
                U    Yes



            Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?                                                                                  I

                    No
                                               I      i        tin lit dlt I I   t AIiuii Sri   \ ILLS        -
                    Y s Na t c of p   scn                                                                                         Attach the Bankulpicy Petition     ir       tQt,ce
                                                                                                                                   L)oc/arot/on, and Signature (Official Form 119).




      Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 12
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                           Beverly                                                      Perryitian
     Debtor 1
                           First Name                             Midrie Name

     Debtor 2
     (Spouse, if tiiinp)   First Name                             MdrS' Numi'           Lest Luau.

                                                              Eastern                   .. .         CA
     United States Bankruptcy Court for the                                             Distr uct of
                                                                                                     tt.ttir.
     Cuso number                                                                                                                                                       U    Check if this is   an
                                                                                                                                                                            arrtet'tded rump




       Official Form 108
       Statement oflntention for Individuals Fing Under Chapter 7                                                                                                                     12/15

       If you are an individual filing under chapter 7, you must fill out this form if:
       a   creditors have claims secured by your property, or
       N you have leased personal property and the lease has not expired.
       You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
      whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
       If two married people are filing together in a joint case, both are equally responsible for supplying correct information,
       Both debtors must sign and date the form.

      Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
      write your name and case tuni'oer (ti Lihowil).

                           List Your Creditors Who HaveSecured Ctaims

        1 For any creditors that you listed in Part I of Schedule D: Creditors Who Have Claims Secured by Property
                                                                                                                   (Official Form 106D), fill in the
           information below.

                Identify the creditor and the property that is collateral                                   What do you intend to do with the property that       Did you claim the property
                                                                                                            secures a debt?                                       as exempt on Schedule C?
               Creditor's        Bayvie' Loan Servicing
               name:                                                                                      U      Surrender the propetty.                          U   No
                                                                                                                i Retain the properly arid redeem it.                 Yes
              1)euunotion                   2S3 P Muitsill   \t
                                                                                                                                        flu
                                        Fren. C M371 0                                                                                        eI   do a
              securing debt:                                                                                     Iseafft,'mat,o,t Agreement.
                                                                                                          U      Retain the property and [explain]:



              Creditors
              name:                                                                                       U      Surrender the properly                       '   U   No
                                                                                                          'U     Retain the properly and redeem it.               U   Yes
              Description of
              property                                                                                    U      Retain the property and enter into a
              securing debt:                                                                              -.     Reaffirmation Agreemen t.
                                                                                                                 Retain the property and [explain]:



              Creditors
              name:
                                                                                                          U      Surrender the property.                              No
                                                                                                          U      Retain the property arid redeem it.              U   Yes
              Description of
              property                                                                                    U      Retain the property and enler into a
              securing debt:                                                                               ,,    Rca fOrmation Agreement.
                                                                                                                Retain the property end (explain]:



             Creditor's
             name:
                                                                                                         U       Surrender the property,                          U   No
                                        .
                                                       .                                                 U       Retain the property and redeem it                U   Yes
             Description of
             property                                                                                            Retain the property and enter into a
             securing debt:                                                                                      lmefl,r/iicii ,u.ii /tQidteriiiit'lf




     Official Form 108                                            Statement of Intention for Individuals Filing Under Chapter 7                                             page 1
Filed 05/29/19                                                          Case 19-12257                                                                      Doc 1
                         Beverly                           Perrynian
      Debtor
                                                                                                   Case number i1
                         FSst N2a      MldIe Name      Last Nae




                         List Your Unexpired Personal Property Leases

       For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
       fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
       ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

                Describe your unexpired personal property leases                                                         Will the lease be assumed?
               Lessors name:
                                                                                                                        Li   No

               Description of leased                                                                                    Li   Yes
               property:


               Lessors name:
                                                                                                                        LI   No

               Description of leased                                                                                    Li   Yes
               property.



               Lessors name.
                                                                                                                        Li   No
               Descttølio of leased                                                                                          I




               Lessors name:
                                                                                                                        LJNo

                                                                                                                        LJYes
               Descnptron cf leased
               property:



               Lessors name:
                                                                                                                        LiNo

               Description of leased
                                                                                                                        U    Yes
               property:


               Lessors name:
                                                                                                                        Li   No

               Description of leased                                                                                    Li Yes
               property:



               Lessors name:
                                                                                                                       LJN0

               Description of leased                                                                                   U     Yes
               property




                         Sign Below




          Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
          personal property that is subject to an unexpired lease.




           S4
            1 -Debt                                                     Srgrrtrture of Debtor 2


           Date            _________                                    Date
                   MM?    DO / YYYY                                            MM!   on i r'vy




      Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                         page 2
Filed 05/29/19                                                    Case 19-12257                                                                      Doc 1



          32800 (FoT 2800) (12115)

                                             United States Bankruptcy Court
                                             pgtern          - District Of _Ca1.ifot__

          'era         (rp               Q( (/jl
                                                                                                          °ii-

                           DISCLOSVBE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
                                                                    pPpø'Er p'pws the peh#loa 11 U.W 5 11O(hXV.J
                (Mist' be filed with the petition a bonfrqWY petWon
                       Under 11 U.S.C. 110(h), I declare under penalty of perjwy that I em not an attorney or employee of an
           I.                          I prepared or unused to be prcpared one or more documents for filing by the *boVe.naXfled
                          ,mey, that
                       debtor(s) In connection with this banlouptcY case, and that compensation paid to me within one year before
                       the filing of the banlouptcy petition, or agreed to be - paid to me, for services rendered on behalf of the
                       debtor(s) in contemplation of or in connection with the banio'uptcy case Ii as follows:
           For document preparation services I have agreed to sccepL.............—..—...• $ 125 • 00
                                                                                      .. ............... ...................       00
           Prior to the filing of this atetement I have received ........
                                                                                                                                  .00 -
                     Due....... ................. .. ............................-      ....................................$
           Balmies
                                                                                                                             1Ze)CIP 7 BankrUptcY PetitiC
                     I have pmp edorcaUSSd abs prepared thefoll0W1fl0                                                          Matrix, Stint of SSN(e)
                                                            financial                  ffairs,             Mailing
           SCb. 1—JI, Stmt of
           sod provided the following services (itemize):
                                                                                   None.
                         Deblarthe compensation paid to me wos
                     =                                                             Other ()

                 The source of compensation to be paid to me Is:
                     l)ebtor iJji                           Other (specify)
                 The foregoing Is a complete steteinent of any egreernent or arrangement for payment to me for preparation
                                                                            case.
                 of the petition filed by the debtor(s) in this baniouptcy
                                                                          compensation a document for filing In connection with
                 To my knowledge no other person has prepared for
                 this bavJmzptCY can ecept as listed below.
                        14 A                             SOCIAL SECURITY NUMBER NI
            NAME


                   9                                                XXX—U-7467
                                                                Social Security number of bsnloWtCy                     Dst
                                                                                                                                _
                                                                                                                                __"
                     ' Sigoat'e
                                                                                          ve., suite 107 1 FreenO, c                             93720
                Rebecca Eecainilla - Redd=
                Printed name and title, if any, of              Address
                BanimiptoY Petition Preparer

                'If the bankruptcy petition preparer is not an individual, state the Social Security number of the ofcer, principal,
                responsible person or paruler of the bankruptcy petition prrer. (Required by 11 U.S.C. § 110).

                A bwslaiipWy petition prepwr'S fidhro to comply with the provisions
                                                                                              of ild. 11 and tbe Federal Rules of
                     -       -                                                        ii u.sc 5110: 18US.C51 56.
                Baytbllptcy PPMNWU ,n'               "j--- -.        - -
Filed 05/29/19                                                                 Case 19-12257                                                                                    Doc 1


        Debtor
                                                     Mu,r Nu,,r

        Debtor 2                                                                                                      1 There is no presumption of abuse.
        (Spouse, if fiiing)   Fire Nuu,s             Macu auuu,                L.uL N,,,,',
                                                                                                                        The calculation to determine if a presumption of
        United States Bankruptcy Court for the Eastern                         District of CA                           abuse applies will be made Linder Chapter 7
                                                                                              iSuiet
                                                                                                                        Moans Test Calculation (Official Form 122A-2).
       Case nuiurber
       (It knowpr)                                                                                                      The Means Test does not apply now because of
                                                                                                                        qualified military service but it could apply later.



                                                                                                                  U   Check if this is an amended filing


      Official Form 122A-1
      Chapter 7 Statement of Your Current Month'y Income                                                                                                                12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
      space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
      additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
      do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
      Abuse Under § 707(b) (2) (Official Form 122A-1Supp) with this form.


     11111111977XV1111111 Calculate Your Current Monthly Income

           What is your marital and filing status? Check one only
                  Not married. Fill out Column A, lines 2-1 1
            U     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11
            U     Married and your spouse is NOT filing with you. You and your spouse are:
                 U       Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11
                 U       Living separately or are legally separated. Fill out Column A. lines 2-11. do not fill out Column B. By checking this box, you declare
                         under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                         spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

           Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
           bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
           August 31 If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6
                   lie. isaac. Do not include any i'icorne amount more than once For example, if both spouses own the same rental property, put the
            i. i.e mi. irtal cropeny ri one c0!tj J j , lj hni it nave toni 'o to report cc any kne wr:iu hU ii the sueco

                                                                                                                  Column A            Co/uinin B
                                                                                                                  Debtor 1            Debtor 2 or
                                                                                                                                      non-filing spouse
           Your gross wages, salary, tips, bonuses, overtime, and commissions
           (before all payroll deductions).                                                                          '104 50           $__________
                                                                                                                  $.__.. L_..
           Alimony and maintenance payments. Do not include payments from a spouse if
           Column B is filled in.

          All amounts from any source which are regularly paid for household expenses
          of you or your dependents, including child support. Include regLilar contributions
          from an unmarried partner, members of your household, your dependents parents,
          and roommates. Include regular contributions from a spouse on'y if Column B is not
          filled in. Do not include payments you listed on line 3.
           Net income from operating a business profession,
           or farm                                                        Debtor 1             Debtor 2
           Gross receipts (before all deductions)                           $______
          Ordinan, and necessary operating expenses                      - $                  - S_______
           Net monthly income from a hLisiness. professon. or farm                                         copv
                                                                            $_______ $_______                     $0.00                $0.00
          Net income from rental and other real property                  Debtor 1 Debtor 2
          Gross receipts (before all deductions(                           $_______ $
          Ordinary and necessary operating expenses

          Net monthly income from rental or other real property
                                                                                                                  $O.00                $0.00
          Interest, dividends, and royalties
                                                                                                                  $                    $__________


     Official Form 122A-1                                                                                                                                    111
                                                     Chapter 7 Statement of Your Current Monthly Income
Filed 05/29/19                                                                                                  Case 19-12257                                                                                       Doc 1


      Debtor 1              Beverly                                              Perryman
                                1 N1i11d1CNan                                        iN                                               Case rrumberi,f



                                                                                                                                           COIL/Inn A                 Column B
                                                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                                                      non-filing spouse
       8. Unemployment compensation

            Do not enter the amount if you contend that the amount received was a benefit
            under the Social Security Act, Instead, list it here: ..... ,,,,,,,
                  For you.............................................. .....................................

                  Foryourspouse ............. ........... ...... ... ...... .......................$
       9    PenSiOn or retirement income. Do nol include any umount reCOved c a t was a
            benefit under the Social Security Act.
                                                                                                                                                                        $
            Income from all other sources not listed above. Specify the source and amount
            Do not include any benefits received under the Social Security Actor payments received
            as a victim of a war crime, a crime against humanity, or international or domestic
            terrorism. If necessary, list other sources on a separate page and put the total below,



             -.-----,-----------,-.--------------.-                                                                                        $_________                  $___________
             Total amounts from separate pages, if any.


           Calculate your total current monthly income. Add lines 2 through 10 for each
            uiurr ir r5 / add ihe tot a for Colur in A to the to il for Coluir ri 8                                                                               +
                                                                                                                                           slSS4(l0
                                                                                                                                                                               0
                                                                                                                                                                                                   Total Current
                                                                                                                                                                                                   monthly income
                         Determine Whether the Means Test Applies to You


      12. Calculate your current monthly income for the year. Follow these steps'
                      Copy your total current monthly income from line 11 .......................... .                                .
                                                                                                                                                      .       Copy/nell here               [L884.j
                      Multiply by 12 (the number of months in a year).
                                                                                                                                                                                               X     12
                      The result is your annual income for this part of the form.
                                                                                                                                                                                   12h

      13. Calculate the median family income that applies to you. Follow these steps'

           Lii in 1 h e 'lite in which you nyc
                                                                                                                Cnlitoinnj

           Fill in the number of people in your household,
                                                                                                                2

           Fill in the median family income for your state and size of household ........ ........ ................ ......... .............. ...................................... ..
           To mid a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                                                         . L
      14. How do the lines compare?

           14a.
                         Line 1 2b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                         Go to Part 3.

           14h. U        Line 12b is more than line 13. On the top of page 1, check box 2,
                                                                                           The presumption of abuse is determined by Form 122A-2
                         Go to Part 3 and fill out Form 122A---2.

                         Sign Below


                       By signing here, I declare under penally of perjury that the information on this statement and in any attachments is true and correct



                            SigneotlJsbtor1
                                                                                                                               Signature of Debtor 2

                            Date                                9
                                    MM! DD                                                                                     Date
                                                      /Yyyv
                                                                                                                                          MM! DD          /YYYY

                            If you checked line 14a, do NOT fill out or file Form 122A-2.

                            If you checked line 14b, fill out Form 122A-2 and file it with this form.


    Official Form 122A-1
                                                                       Chapter 7 Statement of Your Current Monthly Income
                                                                                                                                                                                                    page 2
